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       1      UNITED STATES BANKRUPTCY COURT

       2      SOUTHERN DISTRICT OF NEW YORK

       3      Lead Case No. 08-13555(JMP); 08-01420(JMP)(SIPA)

       4      - - - - - - - - - - - - - - - - - - - - -x

       5      In the Matters of:

       6

       7      LEHMAN BROTHERS HOLDINGS INC., et al.,

       8                  Debtors.

       9      - - - - - - - - - - - - - - - - - - - - -x

     10       In the Matters of:

     11

     12       LEHMAN BROTHERS INC.,

     13                   Debtor.

     14       - - - - - - - - - - - - - - - - - - - - -x

     15                         U.S. Bankruptcy Court

     16                         One Bowling Green

     17                         New York, New York

     18

     19                         September 14, 2011

     20                         10:02 AM

     21

     22       B E F O R E:

     23       HON. JAMES M. PECK

     24       U.S. BANKRUPTCY JUDGE

     25

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       1

       2      HEARING re Debtors' Motion for Approval of a Modification to

       3      the Debtors' Disclosure Statement [Docket No. 19813]

       4

       5      HEARING re Motion of the Official Committee of Unsecured

       6      Creditors of Lehman Brothers Holdings Inc., et al., for Entry

       7      of an Order Granting Leave, standing and Authority to Prosecute

       8      and, if Appropriate, Settle Causes of Action on Behalf of

       9      Lehman Commercial Paper Inc. [Docket No. 19622]

      10

      11      HEARING re Motion of Insured Persons for an Order Modifying the

      12      Automatic Stay to Allow Settlement Payment Under Directors and

      13      Officers Insurance Policy to Settle New Jersey Action [Docket

      14      No. 19480]

      15

      16      HEARING re Debtors' Motion to Compel Production of Documents

      17      Improperly Withheld as Privileged by Giants Stadium LLC [Docket

      18      No. 19585]

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       2      HEARING re RBS N.V.'s Motion for Order Dismissing, Without

       3      Prejudice, the LBI Trustee's Motion, Dated June 29, 2011, or

       4      Alternatively, Converting the LBI Trustee's Motion to an

       5      Adversary Proceeding Complaint, Requiring Application of

       6      Certain Bankruptcy and Local Rules, and Staying all Non-

       7      Discovery-Related Proceedings in Respect of the LBI Trustee's

       8      Motion Pending a Determination by the District Court with

       9      Respect to RBS N.V.'s Motion to Withdraw the Reference [LBI

      10      Docket No. 4454]

      11

      12      Adversary Proceeding: 10-02821 Lehman Brothers Holdings Inc. v.

      13      J. Soffer, Fountainebleau Resorts, LLC

      14      Pre-Trial Conference

      15

      16      Adversary Proceeding:     10-02823 Lehman Brothers Holdings Inc.

      17      v. J. Soffer, Fontainebleau Resorts, LLC

      18

      19      Adversary Proceeding:     11-01875 Melissa King v. Lehman Brothers

      20      Holdings Inc.

      21      HEARING re Lehman Brothers Holdings Inc.'s Motion to Dismiss

      22

      23

      24

      25      Transcribed by:    Aliza Chodoff

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       1                                  P R O C E E D I N G S

       2                    THE COURT:     Be seated, please.     Good morning.

       3                    Mr. Perez.

       4                    MR. PEREZ:     Good morning, Your Honor.     Alfredo Perez

       5      on behalf of the debtors.         Your Honor, we're here on the motion

       6      to approve a very slight modification to the disclosure

       7      statement on a show cause order.         I appreciate the Court

       8      hearing us so quickly.

       9                    After the disclosure statement here and we went back

      10      and someone brought to our attention that the description of

      11      what was a senior guarantee claim included securities lending,

      12      and there was a question as to whether in fact that should be

      13      treated as a senior claim.         So the purpose of this amendment is

      14      strictly to take that out of there.

      15                    Your Honor, several people have called and said well,

      16      what's this about.         Basically, Your Honor, the reason this came

      17      up was to determine what ballot the individuals get.            Do they

      18      get 5 -- Class 5 ballot or do they get a Class 9-A ballot?              And

      19      the people who would otherwise fit in this are going to receive

      20      a 9-A ballot.      And in essence, Your Honor, the definitions of

      21      senior claim is for borrowed money, indebtedness for borrowed

      22      money.      And these are situations where you would enter into an

      23      agreement where you would lend securities in return for

      24      collateral, and there's a question as to whether in fact that

      25      is for borrowed money.

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       1                  Your Honor, several people wanted me to state on the

       2      record this doesn't affect anybody's substantive rights.           I

       3      mean, the plan says that we're going to enforce the

       4      subordination provisions.        This was included, I believe, at the

       5      request of the committee or maybe some other parties to explain

       6      what types of transactions would fall into the various classes.

       7      And we just eliminated it.        We didn't put it in another class;

       8      we eliminated it.

       9                  But nobody's substantive rights are being affected

      10      here, number one.    And number two, the ability to challenge

      11      classification, as the Court is aware, has been deferred to

      12      confirmation.    That's a proper confirmation.      So if somebody

      13      receives a Class 9-A ballot, thinks they're a Class 5, they

      14      have the ability to raise that.

      15                  But with that, Your Honor, that's all the

      16      presentation that we have.

      17                  THE COURT:   Okay.     I read the statement that was

      18      submitted I suppose overnight, I received it this morning,

      19      indicating no objection but also reserving rights, and to some

      20      extent, this is a ministerial matter.

      21                  The Court reviewed this proposed change and

      22      determined that it was probably outside the boundaries of the

      23      kind of adjustment that was authorized under the original

      24      disclosure statement order and as a result urged the debtor to

      25      proceed by means of order to show cause to list this today so

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       1      that all parties would have actual notice of the proposed

       2      change.     I recognize that the committee's papers indicate that

       3      from an economic prospective these changes appear to be de

       4      minimis.     From a structural prospective, however, I believe

       5      they are nontrivial, and so we requested that you proceed in

       6      this manner.

       7                   I've reviewed the proposed changes and I've taken

       8      into consideration the committee's statement as well as your

       9      presentation, and the proposed amendments are approved.

      10                   MR. PEREZ:   Thank you, Your Honor.     Your Honor, I

      11      have an order, but on the basis of your oral ruling can we go

      12      ahead?

      13                   THE COURT:   Yes.

      14                   MR. PEREZ:   We have been waiting to print or burn the

      15      CDs, but on the basis your order --

      16                   THE COURT:   Go print.

      17                   MR. PEREZ:   Thank you, Your Honor.

      18                   UNIDENTIFIED SPEAKER:    Your Honor, the next matter is

      19      Mister --

      20                   THE COURT:   Are you actually going to print now?

      21                   MR. PEREZ:   No.

      22                   MS. WALSH:   I just wanted to put my appearance on the

      23      record if I may?

      24                   THE COURT:   Sure.

      25                   MS. WALSH:   Good morning, Your Honor.     Christine

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       1      Walsh of Mayer Brown on behalf of BNP Paribas and Affiliates.

       2      I just wanted to place on the record we, of course, do not

       3      object to the motion but just wanted to confirm the reservation

       4      of rights with respect to this at a later time.         So I

       5      appreciate your time.      Thank you.

       6                   THE COURT:   Okay.

       7                   MR. O'DONNELL:   Good morning, Your Honor.        Dennis

       8      O'Donnell, Milbank, Tweed, Hadley, McCloy on behalf of the

       9      committee.     The next item up is, as Mr. Perez indicated, our

      10      motion, the committee's motion seeking authority or seeking

      11      standing to prosecute certain adversary proceedings on behalf

      12      of LCPI.

      13                   This is a motion that is being made with the consent

      14      of the debtors.     And in the papers we submitted, I think we've

      15      laid out how we have satisfied the applicable standards under

      16      STN and Commodore in terms of there being colorable claims here

      17      and the benefit to the estate together with the consent of the

      18      debtors.     The motion was filed on August 31st.      There have been

      19      no objections.

      20                   I would just briefly by terms -- in terms of

      21      background, it relates to claims that arise out of certain

      22      participation agreements that were entered into with parties

      23      under LMA forms.     And under these LMA forms, the parties did

      24      not get a property right; they got a debtor -- they got a claim

      25      essentially.     It was a debtor-creditor relationship created.

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       1      The contention in the adversary complaints that have been filed

       2      to date and the claims that will potentially be asserted to --

       3      against parties who have signed tolling agreements arise out of

       4      that relationship and elevations that were granted by the

       5      debtors during the preference period were in certain cases

       6      post-petition, which we contend are avoidable as preferences or

       7      unauthorized post-petition transfers.

       8                   As indicated, there have been five adversaries filed

       9      already.     Those have been stayed under the order staying the

      10      adversary proceedings.      And there are tolling agreements with

      11      respect to approximately 13 other parties, which with whom the

      12      debtors and we have been in contact.

      13                   The committee is assuming prosecution of these claims

      14      primarily because it has taken the lead with respect to these

      15      claims since the outset going back approximately a year and a

      16      half.    The committee was involved in the initial investigation

      17      and was most focused on these particular claims and has

      18      continued to be involved.      And given that background, this

      19      motion -- as well as just recognizing the status quo, the

      20      committee will, the committee has been pursuing the claims.

      21      They will continue to pursue the claims.

      22                   As indicated, the objection deadline was September

      23      7th.    There have been no objections.      The debtors have

      24      consented.     So unless the Court has additional questions about

      25      the claims or the relief sought, we would request that the

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       1      Court grant the motion.

       2                   THE COURT:   I have no problem with the motion, and

       3      I'm prepared to grant it.         But I did have a question when I

       4      reviewed it because it wasn't obvious to me as to why the

       5      committee was pursuing these claims as opposed to LCPI itself.

       6      And since that was not clear to me, I'd like you to make it

       7      clear now.

       8                   MR. O'DONNELL:   Sure.     As I've already indicated,

       9      Your Honor, during the process leading up to the bar date for

      10      the filing of avoidance actions, we -- there was a certain

      11      amount of divvying up of responsibility for different types of

      12      claims.     And the committee initially raised the potential

      13      theory here and persuaded the debtors to pursue the theory.

      14      The claims that were filed were filed by the debtors.

      15                   In the months that have ensued, there has been,

      16      again, a sort of allocation of responsibilities or focus by

      17      either the committee or the debtors on various of the avoidance

      18      actions.     This is -- these are avoidance actions that the

      19      committee initiated the investigation with respect to and has

      20      always felt most strongly about.         We believe that the theory

      21      here is very viable and that there are no colorable defenses.

      22      The debtors, recognizing our involvement and commitment of time

      23      and effort thought it made sense for us to continue that

      24      prosecution and have consented.

      25                   THE COURT:   Okay.     I'll accept that as an

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       1      explanation, and the motion is granted.         You have authority to

       2      proceed with prosecution of those causes of action.

       3                   I do have a question, however, relating to the

       4      agenda.     And this is probably a question for Mr. Perez.        I

       5      remember that one of the items that I prepared for on the

       6      uncontested list, which is not on the amended agenda, gave the

       7      debtor permission to serve certain foreign defendants in

       8      connection with some pending litigation.         I believe one of the

       9      parties was BlueBay, and BlueBay was also identified as a party

      10      in the motion that we just heard giving the committee authority

      11      to proceed.

      12                   I'm just wondering what happened to that.       Was that

      13      resolved by other means?

      14                   MR. PEREZ:     Your Honor, if the Court will give me

      15      five minutes I'll go find out because I don't know the answer

      16      to that.     I can make a call.

      17                   THE COURT:     I don't know if it was resolved by

      18      certificate of no objection that I didn't hear about but --

      19                   MR. PEREZ:     It was.

      20                   THE COURT:     Apparently it was my law clerks have

      21      confirmed that.     Fine.     Then I withdraw the comment and you

      22      don't have to look further.

      23                   MR. PEREZ:     All right.   Thank you, Your Honor.       Your

      24      Honor, may I be excused?

      25                   THE COURT:     Yes.

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       1                   MR. PEREZ:    Thank you.

       2                   THE COURT:    You're going to go print.

       3                   UNIDENTIFIED SPEAKER:      Your Honor, the next matter on

       4      the agenda is the motion of the insured persons for order

       5      modifying the stay.       I don't know who is actually presenting

       6      that motion.

       7                   MR. WASSERMAN:    Hi.   Good morning, Your Honor.     My

       8      name is Adam Wasserman.       I'm of Dechert LLP.    I will be

       9      presenting that motion.       We represent the current and former

      10      directors of LBHI, who are the defendants in the New Jersey

      11      action.     The motion is also being made on behalf of the various

      12      officer defendants in that action as well.

      13                   I'm going to do my best to keep this very short.           As

      14      the Court is aware, on nine prior occasions it has provided a

      15      comfort order lifting the automatic stay to the extent

      16      necessary in order to permit the insurers to pay settlements

      17      and/or legal fees from the LBHI D&O policies.          Here, the

      18      current and former LBHI officers and directors seek very

      19      similar relief in connection with a settlement that was reached

      20      of a securities action brought by the State of New Jersey

      21      Department of Treasury, which settles a case that has about

      22      approximately 192 million in alleged claims for 8.25 million

      23      dollars.

      24                   I am not going to repeat for you all the reasons in

      25      our moving papers for why we think the comfort order is

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       1      appropriate.     I'll rest on those.   Rather, I will just address

       2      the one limited objection that was raised by the Essex

       3      plaintiffs to this motion.

       4                  The Essex plaintiffs' limited objection is

       5      essentially that they do not know whether or not the New Jersey

       6      settlement should be covered by the 2007/2008 D&O policy or

       7      whether it should be covered by the 2008 to 2011 D&O policy.

       8      Another way to put it is they're not sure if it should be

       9      covered by tower one or tower two, to use short firm.

      10                  We believe that this objection should be objected for

      11      three reasons.     The first is this very same argument was

      12      previously raised in oral argument by the objector to the 15

      13      million U.S. Air comfort motion in July, which this Court had

      14      rejected.    And we believe that the argument should be rejected

      15      here for those same reasons as well.

      16                  THE COURT:   And that objector is the very same party

      17      who is benefiting from today's settlement.

      18                  MR. WASSERMAN:   That is, Your Honor, the State of New

      19      Jersey.

      20                  The second reason is that we believe that Essex lacks

      21      a legal basis to object to the comfort motion for the exact

      22      same reasons that New Jersey previously lacked standing.         Essex

      23      is not an insured whose case is even claimed to be covered

      24      under the policy, but rather it is a Plaintiff in a ongoing

      25      arbitration where there has been -- and the arbitration is

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       1      against certain LBI brokers.      And there has been no resolution

       2      of that arbitration to date.      Thus, as this Court stated in

       3      court in July, they're merely one representative of a whole

       4      host of third parties who might have claims that could proceed

       5      against -- claims against the proceeds of the insurance policy

       6      and thus, they would lack standing to object.

       7                  The third reason their objection should be denied is

       8      that absolutely no one is claiming that the New Jersey case is

       9      not covered by tower one, the 2007/2008 policy.        The estate I

      10      believe agrees.    The New Jersey defendant agrees.      The insured

      11      agrees, and you don't even have Essex saying that they

      12      disagree.

      13                  So under the circumstances where there is absolutely

      14      no question that this settlement is covered by the 2007/2008

      15      policy, we think that their objection should be denied.         And

      16      unless this Court has any questions, I will just respectfully

      17      ask that the order be granted.

      18                  THE COURT:   I'll hear from Essex.     But before hearing

      19      from Mr. Duffy to the extent he wants to say a few words, I'd

      20      like to hear from the insurer, assuming the insurer is

      21      represented in court, on the proposition that you've just

      22      advanced in argument which is the coverage question that is

      23      embedded in the Essex objection.      In effect, Essex is saying

      24      it's not clear to us that your term tower one applies.

      25      Frankly, it's the first term I've -- first time I've used the

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       1      term tower one to describe an insurance stack, and I'm not

       2      comfortable using that term.      So I'm not going to do it again

       3      particularly --

       4                  MR. WASSERMAN:   Yes, Your Honor.

       5                  THE COURT:   -- in a week that includes September 11.

       6      But I'd like to hear from the insurer.       Is the insurer here?

       7                  Apparently, the insurer is so lacking in concern

       8      about the coverage question that the insurer is unrepresented;

       9      is that correct?

      10                  MR. WASSERMAN:   I am not sure if the insurer is

      11      represented.    I know that we have insurance counsel for the

      12      estate present who can address that issue.        And I am happy to

      13      address our understanding of that issue if it pleases the

      14      Court.

      15                  THE COURT:   I'm not looking for an evidentiary

      16      showing on the question of coverage as much as I'm trying to

      17      get a sense as to whether or not the Essex objection is purely

      18      theoretical or if there's any substance to it.

      19                  MR. WASSERMAN:   Well, the basis why we believe it is

      20      theoretical and that there isn't any substance to it, Your

      21      Honor, is that according to the insurers there was a case filed

      22      in February 22nd, 2008, which was the Reese case, which was a

      23      securities class action, which would have been covered by the

      24      2007/2008 policy.

      25                  It is our belief and I believe it is also the

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       1      estate's belief, though I will let the estate speak for itself,

       2      that the Reese case involved securities questions, which

       3      related to allegations relating to LBHI securities and relating

       4      to whether or not there were misstatements or omissions in

       5      connection to Lehman's financial condition and/or exposure to

       6      mortgages.     So that is the initial case, which triggered the

       7      2007-2008 policy.

       8                   The New Jersey case, similarly, is a case by an

       9      investor who is claiming a securities case against the

      10      defendants.     And their case is also based on the similar types

      11      of alleged misstatements and/or omissions relating to Lehman's

      12      or LBHI's financial condition and/or exposure to various

      13      mortgage and real estate assets.       So because the New Jersey

      14      action is related to this action that was first filed in what

      15      is a claims made policy, it is our understanding that it is in

      16      fact covered.

      17                   And I will defer to either counsel for the estate or

      18      counsel for -- or insurance counsel for the estate if you have

      19      any additional questions on that.

      20                   MR. KRASNOW:   Good morning, Your Honor.     Richard

      21      Krasnow, Weil, Gotshal & Manges on behalf of the debtors.           We

      22      are not insurance counsel, but just a few introductory

      23      comments.

      24                   Your Honor, the debtors have no objection to the

      25      granting of the motion for the reasons that Mr. Wasserman

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       1      outlined.      And we concur with his views with respect to the one

       2      objection that was filed.

       3                    I would make one observation in response to Your

       4      Honor's question as to whether or not this is a theoretical

       5      issue.      Your Honor, we believe that Essex, if you will, stands

       6      in the shoes that New Jersey wore when it opposed the last

       7      motion where relief was sought to lift the stay to allow for

       8      insurance payments to be made, which is to say that ethic,

       9      excuse me, Essex's standing is nonexistent.

      10                    It does -- it has asserted claims.      There is

      11      litigation with respect to its claims.         But it has no rights

      12      with respect to either the policies at issue or the policies

      13      that it alluded to, which I believe is the 2008/2009 policy

      14      years.

      15                    With respect to the 2007/2008 policy years, I will

      16      defer to Mr. Hirsch from the Reed Smith firm, who is insurance

      17      counsel to the debtors.       But again, my understanding is

      18      consistent with what Mr. Wasserman said, which is that the

      19      claims that have been asserted by New Jersey are similar to

      20      claims that were previously asserted during the 2007/2008

      21      policy year.      And therefore, under the policies in question and

      22      applicable insurance law, there is a relation back.

      23                    Your Honor, if I could introduce Mr. Hirsch, he is

      24      with the firm of Reed Smith.        It wasn't clear that he was going

      25      to need to speak today.       He is admitted in the State of

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       1      Illinois.     He is not admitted in New York.        We had not filed

       2      any pro hac papers because it might just be a one-day matter.

       3      But we would request that he be admitted pro hac for the

       4      purpose of today's hearing.

       5                   THE COURT:     He's --

       6                   MR. HIRSCH:     Good morning, Your Honor.

       7                   THE COURT:     He's admitted pro hac, and he needs to

       8      recognize that that carries with a $200 payment obligation.

       9                   MR. HIRSCH:     I think my firm can cover it, Your

      10      Honor.

      11                   THE COURT:     Good.     And we appreciate all

      12      contributions to our treasury.

      13                   MR. HIRSCH:     Your Honor, Mr. Wasserman I believe did

      14      state accurately why the New Jersey matter should fall within

      15      the '07/'08 tower.        I can answer any other questions you have

      16      if you have any.     But I'd also say there really isn't any

      17      dispute on behalf of the estate.           If there were a basis to

      18      dispute, then I think we would.           It would be in the estate's

      19      interests.     But there really isn't.

      20                   THE COURT:     Okay.     I -- Mr. Duffy can speak for

      21      himself, but I view his limited objection as being more in the

      22      nature of a reservation of rights as to whether or not a

      23      particular claim is covered under the 2007/2008 policy or under

      24      the 2008/2011 policy.        Is there any current question in the

      25      mind of the debtor or, if you know, in the mind of the

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       1      insurance carriers and their representatives as to applicable

       2      coverage concerns?

       3                  MR. HIRSCH:    No, there is no question.     And I know

       4      the position of the insurance carriers because we have

       5      correspondence from the insurance carriers.         There's no

       6      dispute.    They took -- the insurance carriers took the position

       7      that this matter is in the '07/'08 tower because it relates

       8      back to claims first made during that policy period.         And

       9      again, that's reflected in correspondence.        And neither the

      10      estate nor any of the insureds has disputed that.

      11                  THE COURT:    Okay.   I appreciate your comments.

      12                  MR. HIRSCH:    Thank you, Your Honor.

      13                  THE COURT:    I'll hear from Mr. Duffy.     But I'll hear

      14      from Mr. Duffy on the same basis that I heard from the State of

      15      New Jersey on July 21.

      16                  MR. DUFFY:    Yes, Your Honor.   For the record, Todd

      17      Duffy, Anderson Kill and Olick on behalf of Essex Equity

      18      Holdings Limited.

      19                  Our objection is, as the Court rightly characterized

      20      it, was more of a reservation of rights.       We believe that there

      21      will be a policy question as to which policy these charges will

      22      be associated with and not only these but others.         If you see

      23      the SASCO objection, they say they've been stuffed into the

      24      2007/2008 tower when they really believe that they should be in

      25      the 2008/2009 -- or 2008/2009 tower.

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       1                  Now, all of these representations on the record from

       2      the debtors' insurance counsel, Mr. Wasserman, they were not in

       3      the papers.     So we contacted or reached out to debtors' counsel

       4      and asked could we see the notice of claim, which usually comes

       5      from the risk managers.       We received nothing.

       6                  So I am not an insurance coverage attorney, but our

       7      concern is merely that it's not to object to this -- to the

       8      Court entering any order granting -- lifting the stay for the

       9      settlement.     Our objection is that -- our concern is that later

      10      on someone will use this order to say this esteemed Court said

      11      that this belongs in the 2007/2008 policy tower.         And this

      12      simple reservation of rights in the order, I don't see why

      13      anybody -- if in fact this is the correct tower, I don't see

      14      why anybody else would have any objection to that.          Thank you,

      15      Your Honor.

      16                  THE COURT:     Okay.

      17                  MR. HIRSCH:     Your Honor, may I step up just to

      18      clarify one matter?       I want to be absolutely clear on this.

      19      When I answered your question a moment ago, I understood you

      20      were asking about the New Jersey case, which is what we're

      21      talking about now.

      22                  There is a coverage dispute, not before Your Honor

      23      right now, regarding whether or not the -- what we call the

      24      SASCO litigation, the mortgage-backed securities cases, whether

      25      that falls under the '07/'08 tower or the '08/'09 tower.

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       1      There's a large dispute about that.        I wasn't addressing that,

       2      and that's not before Your Honor at this moment.

       3                  THE COURT:   Understood.     Thank you.

       4                  MR. DUFFY:   Your Honor, may I have one moment?        I'm

       5      sorry.

       6                  THE COURT:   All right.     It has to be quick.    This is

       7      -- we're already spending more time on this than I think it

       8      probably warrants.

       9                  MR. DUFFY:   Yes, Your Honor.     Someone mentioned the

      10      Reese case previously.     And honestly, I think that the Reese

      11      case may involve securities questions that are similar to this

      12      question.    But I -- my understanding from my insurance coverage

      13      partners is that that type of, quote, notice to the insurance

      14      company suspect, that it's not always considered rock solid

      15      notice of claim.     So as a result, there may actually be a

      16      question, but I don't have anything in front of me to question

      17      that.

      18                  THE COURT:   Look --

      19                  MR. DUFFY:   Thank you, Your Honor.

      20                  THE COURT:   -- I've heard enough on this whole

      21      subject.    This is not a hearing to determine a coverage dispute

      22      nor as far as I can tell in the matter before the Court is

      23      there any coverage dispute.        In fact, based upon the

      24      representations of counsel for the insured persons, for the

      25      estate, both general bankruptcy counsel for the estate and

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       1      special insurance counsel for the estate, there is no question

       2      but that the proposed settlement to be authorized by virtue of

       3      granting the motion is a settlement that falls within the

       4      2007/2008 D&O coverage.

       5                    However, one thing is clear.     The motion itself is a

       6      motion for what we conveniently describe as a comfort order

       7      that authorizes the parties-in-interest to proceed with the

       8      proposed settlement but in no way constitutes a determination

       9      as to underlying insurance coverage issues.          That's a matter

      10      that I presume the parties have satisfied themselves is not an

      11      issue.      Also, I will note for whatever it may be worth that at

      12      least in my experience, an insurance carrier rarely if ever

      13      will pay out significant settlement proceeds whenever there is

      14      a legitimate coverage dispute then pending without involving

      15      other carriers that might share the load.

      16                    So without ruling on the question, I do overrule the

      17      Essex Equity Holdings limited objection.         And I'm satisfied by

      18      the representations that I've heard that there really is no

      19      coverage issue here.       However, even if there had been no

      20      objection by Essex Equity Holdings, the grant of this motion

      21      would not have constituted and does not constitute a

      22      determination of any coverage issues.         That's one of the

      23      reasons why this has been largely a waste of time.           The motion

      24      is granted.

      25                    MR. WASSERMAN:   May I approach to give a CD to your

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       1      clerk?

       2                  THE COURT:   There's actually no need for you to do

       3      that because the ordinary course action in our omnibus calendar

       4      is to collect the orders and hand them up at the end of the

       5      morning calendar.    And in the ordinary hearing, Weil Gotshal

       6      acts as the keeper of the proposed orders.        So you can hand

       7      that to one of the Weil Gotshal partners, and they'll take care

       8      of it.

       9                  MR. WASSERMAN:   Thank you, Your Honor.

      10                  THE COURT:   And you're excused if you want to me.

      11      And, Mr. Duffy, you're excused if you want to be.

      12                  Good morning.

      13                  MR. SLACK:   Good morning, Your Honor.     Richard Slack

      14      from Weil on behalf of the debtors.       The next matter concerns a

      15      very narrow discovery dispute between the debtors and Giant

      16      Stadium LLC concerning whether Giants Stadium can withhold

      17      certain documents as privileged that were shared with Giants

      18      Stadium's financial adviser, Goldman.

      19                  In May 2010, the debtors served a subpoena on Giants

      20      Stadium pursuant to Rule 2004 and this Court's November 2009

      21      order permitted the debtors to take 2004 discovery.         The result

      22      of that subpoena was a fairly extensive production by Giants

      23      Stadium that was reviewed.      There was a 2004 examination of a

      24      witness.

      25                  Now, the discovery that was served was done so in

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       1      connection with swaps that Lehman had entered into with Giants

       2      Stadium.    In a nutshell, Giants Stadium financed the building

       3      of a new stadium in New Jersey by issuing auction rate

       4      securities, and auction rate securities are long-term debt

       5      interest instruments for which the interest rate is regularly

       6      reset through an auction process.      And because of the potential

       7      interest rate fluctuations, Giants Stadium sought to limit

       8      their interest rate exposure by entering into swaps.         And they

       9      did so by entering into some swaps with Goldman, which had some

      10      of the auction rate security risk, and some of those were

      11      hedged with Lehman in separate swaps.

      12                  Now, upon the Lehman bankruptcy, Giants Stadium

      13      sought to terminate the swaps as did, as we know, a number of

      14      Lehman swap counterparties.      There were certain contractual

      15      provisions in the governing documents between LBSF and Giants

      16      Stadium, which add some complication.       And I'm not going to go

      17      through them, but one example is there was a provision in the

      18      governing documents that had LBI acting as the auction agent

      19      for the auction rate securities.      And the provision stated that

      20      if for some reason LBI was no longer the auction rate agent

      21      that the interest rate on the Lehman swaps would change from

      22      one that was based on the actual auction rates that were set to

      23      a LIBOR rate.    And the importance of that is, is that in this

      24      situation after the Lehman bankruptcy, a matter of days

      25      afterwards, LBI in fact resigned and shortly thereafter was

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       1      replaced.

       2                    So one of the matters, and it is just one and it's an

       3      example, in the debtors' investigation is what were the

       4      assumptions that underlie the valuation of the swap upon

       5      termination by Giants Stadium and in particular if the swaps

       6      were set to go out let's say 38 years or so, which is these

       7      were 40-year swaps so they still had 38 years left, and you're

       8      valuing them, how did Giants Stadium take into account the fact

       9      that upon the resignation of LBI it was expected that there

      10      would be a change and would there be a change in the interest

      11      rate essentially in their calculation.         So if they did that,

      12      great.      If not, why not.   And that's one of the issues that

      13      we're looking at in the 2004 investigation.

      14                    Now, not surprisingly, upon the termination that

      15      Giants Stadium sought, Goldman prepared the valuation of the

      16      swaps.      So the financial adviser actually prepared the

      17      valuations.      And those valuations became the basis for Giants

      18      Stadium's 300 million dollar claim that it filed in the

      19      bankruptcy.

      20                    Giants Stadium has produced the valuations that

      21      Goldman did.      Your Honor, what we did was in our exhibits we

      22      submitted the cover e-mails and didn't burden the Court with

      23      the actual valuations, which are quite substantial.           But we

      24      have those here if the Court would like to see those.           But the

      25      bottom line is, is that Giants Stadium produced the Goldman

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       1      valuations.     They -- you know, one of the issues, again, that

       2      we're looking at in our investigation is what were the

       3      assumptions that went into the valuations and why those

       4      assumptions were made by Goldman.       Of course, that's all

       5      classic financial adviser work.

       6                  Giants Stadium ultimately produced a extensive

       7      privilege log.     And this motion only seeks thirty-three

       8      documents on the Giants Stadium log where Goldman was a party

       9      to the communication, so again, a very narrow motion.

      10                  With that, there is a little bit of cleanup for two

      11      reasons.    Number one, yesterday Giants Stadium produced four of

      12      the thirty-three documents that were at issue.         So as they had

      13      said I think in their objection they were going to do, they in

      14      fact produced those.      And for the record, we've identified

      15      those as Exhibit 351 off of the privilege log, which is -- was

      16      Exhibit D to our motion, and Numbers 270, 271 and 272 off the

      17      redaction log.     So those, Your Honor, are no longer at issue.

      18      They have been produced.

      19                  The other thing is, is that the list that we had in

      20      our motion of the documents is accurate.        That's at page 10 of

      21      our motion.     We had an exhibit for Your Honor, which we thought

      22      would be helpful, where we highlighted on the privilege and

      23      redaction logs the items that were at issue, and we mismarked

      24      Number 197.     We actually highlighted that one on Exhibit E, but

      25      that is not at issue.      So Number 197 off the redaction log is

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       1      not at issue.

       2                  So turning to the law for a second, there really is

       3      no dispute as to the general rule that the presence of a third

       4      party in communications between a lawyer and the client

       5      destroys the privilege.     In the Second Circuit, there is a very

       6      limited exception to that.      And again, I don't think is at

       7      issue as Giants Stadium has said that they accept the Kovel and

       8      Ackert decisions as being the law.       And that is that where you

       9      have essentially a client who needs an interpreter, then there

      10      is a very limited interpreter exception to this idea that a

      11      third party destroys the privilege.       And when the courts in

      12      Kovel and Ackert use the word interpreter, they're talking

      13      about obviously non-language interpreters.

      14                  And Ackert, which is a Second Circuit decision I

      15      think, is an important case in terms of the facts there.         You

      16      had an in-house lawyer for a company which sought to advise the

      17      company about tax implications of a certain investment.         And in

      18      the course of providing that legal advice, the in-house lawyer

      19      contacted Ackert, who was an employee coincidentally at Lehman

      20      or at Goldman.    And the company argued that the information

      21      provided by the financial adviser was both important and

      22      necessary to rending the legal advice by the lawyer.

      23                  Interestingly enough, the lower court agreed and held

      24      that the information was privileged.       The Second Circuit

      25      reversed.    And relying on Kovel, the Second Circuit held that

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       1      communications between a party and its counsel may not be

       2      destroyed if the third-party adviser was acting as an

       3      interpreter akin to a client speaking a different language.

       4      The Second Circuit found, however, here that, quote, "the

       5      privilege protects communications between a client and an

       6      attorney not communications that prove important to an

       7      attorney's legal advice to the client."        And the Second Circuit

       8      went on to say the communication between an attorney and a

       9      third party does not become shielded by attorney-client

      10      privilege solely because a communication proves important to

      11      the attorney's ability to represent the client.

      12                   And here, this situation is no different than in

      13      Ackert.     The declaration of the lawyer here from Sullivan and

      14      Cromwell submitted by Giants Stadium in opposition to the

      15      motion confirms, frankly, that the communications do not fall

      16      within the Second Circuit's holding in either Kovel or Ackert.

      17      In Paragraph 15 of Mr. Dietderich's declaration, he states,

      18      quote:

      19                   "These seven communications represent legal

      20      discussions among S&C, Goldman Sachs and GS LLC in which S&C

      21      required the assistance of an expert on financial markets in

      22      order to provide certain advice to GS LLC concerning the amount

      23      of loss as that term is defined in the ISDA agreements suffered

      24      by GS LLC due to LBSF's default on the transactions.          This

      25      financial expertise was provided by Goldman Sachs at the

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       1      request of GS LLC solely for the purpose of assisting S&C to

       2      adequately advise GS LLC on legal questions."

       3                  And this is precisely the situation in Ackert.        By

       4      its own admission, Sullivan and Cromwell wanted financial

       5      advice that it thought would be useful, perhaps even necessary,

       6      in rendering legal advice.      And that's exactly what happened in

       7      Ackert where the in-house lawyer wanted Goldman's financial

       8      advice on taxes in a transaction at issue there in order to

       9      help it render legal advice.

      10                  I would also point out, Your Honor, though I won't

      11      read it, that you have a very similar description of the work

      12      done by Goldman in these communications in the declaration by

      13      Christine Procops in paragraphs 18 and 19 essentially saying

      14      that what was being provided was financial advice by Goldman to

      15      help the lawyers render legal advice.       And that is not

      16      privileged under Ackert or Kovel.      The only thing that is

      17      privileged potentially in the limited exception under Ackert is

      18      where the client is providing information and it's being

      19      interpreted by the financial adviser.       But as in Ackert, when

      20      you're getting financial advice from the financial adviser,

      21      that is not privileged.

      22                  Now, the withholding of this information here is even

      23      more egregious than in Ackert or in Kovel, and the reason is,

      24      is that Giants Stadium has actually produced certain valuations

      25      and certain valuation information while trying to hide other

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       1      information on exactly the same topic.

       2                   THE COURT:   This is your sword and shield argument.

       3                   MR. SLACK:   That's correct.

       4                   THE COURT:   One of the questions I have, I want to go

       5      back to your opening remarks about the four documents that have

       6      recently been turned over.        So there are now twenty-nine by my

       7      count of these documents that are at issue.         What distinguished

       8      those four documents, and what if anything did you learn about

       9      the role of Goldman as a result of looking at those four

      10      documents?

      11                   MR. SLACK:   Well, I think in fairness we looked at

      12      the documents and we didn't even see a colorable argument that

      13      -- from those four documents that they were being withheld

      14      under Kovel.     I don't know whether -- I think they're

      15      confidential, and I don't know whether I can describe them to

      16      the Court.     But I -- what I guess I would suggest is that after

      17      the motion we will submit them to the Court and the Court can

      18      review them.

      19                   THE COURT:   Okay.    And apropos of that last remark, I

      20      gathered from looking at the papers that have been filed that

      21      there is some ongoing issue as to whether or not the disputed

      22      documents should be the subject of an in-camera review.          How

      23      can I possibly decide the question of privilege here and the

      24      role of Goldman without an in-camera review?

      25                   MR. SLACK:   I think, Your Honor, that it's -- the

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       1      answer is I think it's entirely appropriate.        I think Your

       2      Honor should take them in-camera.

       3                  I think Your Honor could decide it without it in the

       4      following respect, and that is that based on the declarations

       5      that were provided they just simply don't set out a -- even a

       6      colorable claim that these are protected by Kovel and Ackert.

       7      Because what each of the declarations says, so the only

       8      information that we have from Giants Stadium, is that Goldman

       9      was asked to provide financial advice and financial expertise

      10      to help Sullivan and Cromwell render legal advice.         Nowhere in

      11      either of the declarations that were filed is there any

      12      suggestion that they acted as any kind of interpreter of any

      13      information from the client.       And so I think on the face of the

      14      opposition, Your Honor can correctly decide that there hasn't

      15      even been a colorable claim or colorable opposition to

      16      providing these documents.

      17                  But having said that, we think an in-camera review is

      18      appropriate.    We think it's typical in these situations.         And

      19      we would expect Your Honor to conduct one.

      20                  THE COURT:   All right.    Please proceed.   You were at

      21      sword and shield when I interjected.

      22                  MR. SLACK:   Right.    So, Your Honor, I think you

      23      understand the sword and shield, and so what I wanted to do is

      24      talk about the one case that Giants Stadium seeks to rely on in

      25      order to make its argument.       But that case, the Calvin Klein

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       1      Trademark Trust matter, which is 124 F. Supp. 207, doesn't

       2      really help it.

       3                  In that case, a party sought discovery of

       4      communications between a lawyer and a client that was attended

       5      by a financial adviser.     The court first off affirmed the

       6      limited interpreter exception.      So I think, again, there's no

       7      issue as to the law.     The court reviewed the documents in-

       8      camera -- and I think that's apropos of what Your Honor just

       9      said -- and then determined after review that the financial

      10      adviser was in fact interpreting information provided by the

      11      client and made that distinction there that there was

      12      information being provided by the client that the financial

      13      adviser was interpreting.     The court did require production of

      14      one document there that didn't meet the interpreter test.

      15                  And so here, in stark contrast, again, there is

      16      nothing in the declarations that say that there was anything

      17      different here other than the financial adviser was actually

      18      providing financial advice, and that is not protected under

      19      Ackert or Kovel.    Moreover, if you read on in Calvin Klein

      20      towards the end of the decision, it makes it clear that had

      21      this situation involved a sword-and-shield strategy where some

      22      information was provided and some wasn't that it would perhaps

      23      have changed the opinion.     So in that respect, I think Calvin

      24      Klein actually supports the motion here.

      25                  With respect to an in-camera review, we just talked

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       1      about that.      I would only point out that the cases that are

       2      cited by Giants Stadium almost uniformly have an in-camera

       3      review.      Ackert had an in-camera review.     Calvin Klein had an

       4      in-camera review.      It's perfectly appropriate here.

       5                    One last point on the attorney-client privilege,

       6      completely independent from the idea of the Ackert and Kovel

       7      exception.      Now, there's dispute that Goldman had entered into

       8      swaps with Giants Stadium that were essentially parallel.

       9      There were some different terms with respect to the interest

      10      rates, but other than that, they were ISDA master agreement

      11      swaps.      And at various point in the -- in their papers and in

      12      the declarations, Giants Stadium states that Goldman was

      13      helping provide financial advice so that Sullivan and Cromwell

      14      could interpret loss, and they use that in quotations, for

      15      purposes of the ISDA master.

      16                    But the definition of loss is typically a uniform

      17      concept.      And so Goldman having had swaps -- again, almost

      18      identical swaps other than the interest rate -- was in an

      19      adverse position vis-à-vis this kind of legal advice, that is,

      20      what is the definition of loss because they had the same issue

      21      with respect to their swaps.        And the idea that Goldman could

      22      be inside the privilege tent with respect to an interpretation

      23      of an ISDA master agreement when it was in an adverse position

      24      with respect to an ISDA master, it's arm's length, contractual

      25      counterparty, destroys the privilege in and of itself.           And so

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       1      we suggest and it's in our papers that the fact of adversity

       2      here independently destroyed the attorney-client privilege.

       3                  There is a suggestion in the Giants Stadium papers

       4      that they didn't provide this information as a swap

       5      counterparty, as if they could change their hats.        Well, we're

       6      a swap counterparty and now we're giving this kind of financial

       7      advice over here.    I think that's pure fiction.      I think that

       8      if you're adverse, if Goldman is adverse it change its hats and

       9      say well, I'm providing this information as a swap counterparty

      10      and this information as something else.

      11                  A quick word on work product, which I think frankly,

      12      Your Honor, just doesn't work here.       The law from the Second

      13      Circuit in Adelman is very clear that if you would have created

      14      the documents regardless of litigation then you -- they're not

      15      protected by work product.      In other words, what happened here

      16      was they purported to terminate the swap and therefore wanted

      17      to value it.    And if they're valuing the swap and figuring out

      18      what loss means for valuing the swap, that work would have been

      19      done regardless of whether or not there was going to be

      20      litigation over or not.     They needed to value the swap for the

      21      termination.    And what Adelman says is that that is not

      22      protected by work product.

      23                  The case that they cite, which is a Weil Gotshal

      24      case, if you read their block quote says specifically that it

      25      doesn't apply if the work would have been done anyhow.         So I

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       1      think there the one case that Giants Stadium cites is actually

       2      right on point there.

       3                    So with that, Your Honor, we would ask that you

       4      compel the production of these.         And of course, Your Honor, we

       5      are willing to and expect that you will view them in-camera

       6      first.      Thank you.

       7                    THE COURT:   All right.    Thank you.

       8                    I'll hear from Giants Stadium.

       9                    MR. CLARK:   Good morning, Your Honor.      Bruce Clark

      10      for Giants Stadium.

      11                    THE COURT:   I take it that we're going to continue to

      12      call it Giants Stadium and that MetLife has nothing to do with

      13      this.

      14                    MR. CLARK:   That's the entity, Your Honor.      We're

      15      quite right.      That's just a name on the --

      16                    THE COURT:   I figured as much.

      17                    MR. CLARK:   -- name on the front.      I thought you were

      18      going to ask about the game the other day, and I have no answer

      19      for that either.

      20                    Your Honor, much but not all of what Mr. Slack said

      21      we do agree with, including some of the general statements

      22      about the law.      Originally, they painted our claims of

      23      privilege as sweeping.       Now they're narrow.      We agree with that

      24      change in approach.

      25                    There are exactly seven families of e-mails that are

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       1      at issue, twenty-nine e-mails because you will have one as the

       2      original e-mail and then somebody will reply and so forth.

       3      It's not a lot of e-mail or documentation.          And the subject is

       4      the proper interpretation of the term loss under the ISDA

       5      agreement.      And literally, what happened here is the client

       6      presented to its lawyers, some of my colleagues, this ISDA

       7      agreement and said how is one to interpret that -- that was the

       8      question that was being discussed -- in the circumstances where

       9      we have a swap of the nature of the swap with Lehman.

      10                    Now, the debtors continue to say that the two swaps

      11      were similar or even identical.        That simply could not be

      12      further from the truth.       If you look at all of the filings in

      13      this case and all the swaps that have been presented to you, I

      14      haven't looked at every one.        I've looked at as many as I can

      15      over time.      I haven't found another like this because typically

      16      under the ISDA agreements there are fixed terms and variable

      17      terms.      The fixed term is self-defining, and the variable term

      18      is usually something that is market aware.          It's LIBOR, LIBOR

      19      plus twenty or something like that.

      20                    In the Lehman swap, it was quite different.       What

      21      Lehman did was come to Giants Stadium and say we can prevent

      22      even that amount of risk.       And there was risk there under the

      23      deal because what the Giants were paying out was an auction

      24      rate subject to an auction that would be held every thirty

      25      days.    And what they were going to have to pay on the bonds --

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       1      on the auction rate bonds would depend very much on how the

       2      construction was going and a lot of other variables.           It was

       3      not just a credit issue.

       4                    So what happened was Lehman came to the Giants and

       5      said we can put you into a secure position where we will make

       6      our swap payment the same as your payment on the auction rate

       7      bonds.      In effect, at the end of the day what you have, Giants

       8      Stadium, is a 6.18 percent fixed rate for forty years.           And the

       9      terms of the contract were quite remarkable in a number of

      10      other ways.      There are no termination provisions of the type

      11      you ordinarily have, no caveats, no ability to get out of that

      12      commitment.      It was a very unique contract.

      13                    And so there was the question of how do you interpret

      14      loss under the circumstances presented here after the

      15      bankruptcy filing.       And loss under the ISDA documentation means

      16      an amount a party reasonably determines in good faith to be its

      17      total losses and costs in connection with the agreement

      18      including any loss of bargain.        The benefit of the bargain was

      19      an essential element in the ISDA agreement as it is in all of

      20      these contracts, but this was an unusual swap.          And so the

      21      issue was what will the market consider reasonable.           What will

      22      the market consider reasonable under these circumstances?

      23                    And it is a fact that for this limited purpose in

      24      this limited respect, Giants Stadium asked Goldman Sachs to

      25      give some advice and information to Sullivan and Cromwell so

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       1      that Sullivan and Cromwell could advise Giants Stadium.           It's

       2      the same thing that happened when Wachtell asked Lazard for

       3      advice in Calvin Klein, and that was upheld.          And if you look

       4      at the Hallmark Cards case, although that was a work product

       5      case, there's a mention of the fact that Weil Gotshal was

       6      claiming attorney-client privilege over twelve documents

       7      relating to advice they got from Lusa Data (ph), it's data

       8      consultant, which is probably the same theory.          This is not

       9      unusual.      People have arrangements like these on narrow issues

      10      all the time.

      11                    Now, under the law, the debtors went on at some

      12      length about the Ackert case.        And of course, the Ackert case

      13      does have considerable influence here.         But what happened in

      14      Ackert is that the trial court barred any questions of Mr.

      15      Ackert.      David Ackert was interviewed by the trial court

      16      in-camera, and the privilege claim there was upheld across the

      17      board.      There were to be no questions at all, no documents

      18      produced at all.

      19                    And what the Second Circuit reversed was that broad

      20      bar against any questioning.        But they went on to say at page

      21      140 of the reported opinion, we do not preclude the possibility

      22      that as the examination of Ackert proceeds Paramount might

      23      demonstrate circumstances bringing some particular question or

      24      questions put to Ackert within the scope of Paramount's

      25      privilege.

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       1                  That's exactly analogous to what we have here.       We

       2      have turned over three thousand Goldman Sachs e-mails where

       3      they sent them or received them or were copied on them.         We're

       4      raising the narrow issue of how you value loss under these

       5      circumstances.     Just as in Ackert, we're not claiming -- we're

       6      not claiming a general bar against Goldman Sachs production.

       7      That's -- we're way beyond that.

       8                  THE COURT:   Let me ask you this though, I'm being

       9      asked to decide a discovery dispute in the middle of a Lehman

      10      omnibus hearing.     And this may not be unique, but it's the

      11      first time I can remember that a discovery dispute has been

      12      front and center with a big audience that has -- probably has

      13      very little interest in the outcome.

      14                  I'm assuming that the parties have acted in the

      15      utmost good faith in trying to resolve this and would not have

      16      brought this to the Court's attention during prime time were it

      17      not viewed by both sides as an incredibly important issue.            But

      18      how am I supposed to resolve the question, a relatively subtle

      19      one, as to the role that Goldman is actually playing in respect

      20      of these particular e-mails without, (a) actually seeing the e-

      21      mails myself, and (b) perhaps having some further explanation

      22      as to what capacity Goldman was fulfilling in connection with

      23      what may be ambiguous communications?

      24                  As I understand the arguments that have been made,

      25      Sullivan and Cromwell and its client takes the position that

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       1      Goldman was not here acting purely in its capacity as a

       2      financial adviser.       But in the declaration cited by Lehman in

       3      its argument, one could interpret what has been stated there as

       4      classifying Goldman as a financial adviser not as an

       5      interpreter.

       6                  One of the problems I have in applying the law is

       7      that I'm being asked to apply labels that have broad meaning to

       8      particular circumstances that may or may not be unique.           What

       9      is your position as a matter of law as to whether these

      10      documents are discoverable if I determine that Goldman is

      11      acting in its capacity purely as a financial adviser and not as

      12      a, quote, "interpreter" close quote?

      13                  MR. CLARK:     There are three or four questions there.

      14      Let me see if I can answer them in order.

      15                  The question you did not ask but alluded to in your

      16      opening remark was whether or not the parties have acted in

      17      good faith.     I think the answer to that is yes.      I'm not

      18      charging anybody with bad faith.       We did offer to meet and

      19      confer on these documents before the motion was filed, and that

      20      was rejected.

      21                  Now, the second -- maybe all your questions are

      22      really wrapped up in the last one.        I think if you were to

      23      conclude -- first of all, I think you should look at these

      24      documents in-camera.       I agree with that.   Once upon a time, a

      25      long time ago at a bar association meeting, a lecturer got up

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       1      and told the story of a judge who asked to see documents in-

       2      camera, and the lawyer claiming the privilege said very well,

       3      Your Honor.     And the judge looked at him and said that's a

       4      waiver.     So I don't think Your Honor is going to do that to me,

       5      so I don't have any problem with your looking at these in-

       6      camera.

       7                   I think the third question -- second question you

       8      actually asked about whether you need to take some further

       9      evidence, I think you should look at the documents first and

      10      see if that's necessary.

      11                   Your final question, if you conclude at the end of

      12      the day that Goldman Sachs was simply acting as a financial

      13      adviser and not helping Sullivan and Cromwell advise its client

      14      on the market meaning of loss and how that should be

      15      interpreted in the work that it was doing and giving advice on,

      16      then I think the documents have to be turned over.

      17                   THE COURT:   Okay.   Now, this is difficult because

      18      we’re talking about a subject with the documents in a black

      19      box.   I don’t know what they look like.       I don’t know what they

      20      say.

      21                   What is it about the documents that would lead an

      22      impartial observer such as me to conclude that you are right in

      23      the interpretation, and let me use the word twice --

      24                   MR. CLARK:   Okay.

      25                   THE COURT:   -- that Goldman was acting as an

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       1      interpreter?

       2                   MR. CLARK:   I think when you see the e-mails at

       3      issue, the question that is being addressed there is not what’s

       4      the valuation.     As Mr. Slack said, we have produced thousands

       5      and thousands of pages, and some hundreds of those are

       6      valuation ones.     They have all of those.

       7                   It’s not the question of what the valuation is after

       8      you determine what the right process is.        It’s a discussion

       9      about what goes into the process, and I think if you see that,

      10      you can understand why there is a different category of

      11      document before you.

      12                   THE COURT:   Okay.   I think it’s simply too hard to

      13      discuss this further without my having a chance to actually see

      14      the documents.     And I take it you have no objection to that.

      15                   MR. CLARK:   I don’t, Your Honor, no.

      16                   THE COURT:   Fine.   So what more do we have to talk

      17      about here since I can’t resolve this until I see the

      18      documents?

      19                   MR. CLARK:   Can I have a minute on sword and shield

      20      and work product, or do you want to hold off on that, too?

      21                   THE COURT:   I’m confident you’re going to say that

      22      you’re not using this in the sword and shield way, and that --

      23                   MR. CLARK:   You read my script, Your Honor.

      24                   THE COURT:   All right.   I’m just guessing --

      25                   MR. CLARK:   All right.

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       1                   THE COURT:   -- what you might say, and as to work

       2      product, I’m not sure that it’s relevant, other than for you to

       3      make some comment about how these documents wouldn’t have been

       4      prepared but for the anticipated litigation, but perhaps you’re

       5      going to say something else.

       6                   MR. CLARK:   I think they were prepared because of the

       7      anticipation of litigation solely.        This was a step toward

       8      litigation.

       9                   THE COURT:   So I’m reading your mind, is that what

      10      you’re telling me?

      11                   MR. CLARK:   Either I’m communicating very well, or I

      12      don’t need to say anything more, and I think that may be the

      13      case.

      14                   THE COURT:   Okay.   Well, let’s then defer further

      15      argument on this, until after I’ve had a chance to review the

      16      documents.     And so I have some sense as to what burden may be

      17      associated with this, what are we talking about in terms of

      18      number of overall pages?

      19                   MR. CLARK:   Maybe forty.    I mean, it’s not a lot,

      20      Your Honor.

      21                   THE COURT:   Okay.

      22                   MR. CLARK:   I’m just guessing if I’m wrong, by a

      23      factor of sum and sorry, but I can say it’s not going to be a

      24      great burden to look through these I don’t think.

      25                   THE COURT:   Fine.   That’s what we’ll do.     We’ll just

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       1      have to make a date for the turnover of the documents, making

       2      sure that that’s done in a secure manner, and on a date when I

       3      have a little bit of time, so I can sit and review them.

       4                    Now, the question that I have after the review is

       5      what happens next.         Because conceivably, and I’m guessing this

       6      may be like bedtime reading.         These may not be the most

       7      scintillating documents.         Conceivably, I may have questions

       8      about the documents, and since you know what the documents

       9      contain and I know, as a result of reviewing them and what the

      10      documents contain, but debtor’s counsel does not yet know, how

      11      am I to engage in further dialogue without this being an ex

      12      parte communication of one sort or another?

      13                    MR. CLARK:     Well, I’m not sure that’s prohibited

      14      actually.      If -- again if you look at the Ackert case, what the

      15      lower court judge did, was have an ex parte interview with

      16      David Ackert.      And the Second Circuit did reverse the lower

      17      court in some respects, but did not criticize that procedure.

      18      So perhaps that’s the next step if you think it’s necessary.

      19                    THE COURT:     Well, we’ll cross that bridge when we get

      20      to it.      But if we do get to that point, I’m not going to have

      21      the conversation with questions without first giving debtor’s

      22      counsel notice that this is something I intend to do, and to

      23      the extent that I can provide a broad statement of the area of

      24      inquiry, I plan to do that as well, so that both parties are

      25      fully aware of what I’m doing.

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       1                   MR. CLARK:   I’m sure Your Honor can do that, and we

       2      would have no objection.

       3                   THE COURT:   Okay.   Is there more?

       4                   MR. SLACK:   I want to say literally a minute worth of

       5      comments.

       6                   Your Honor, I do have an extra copy of the four

       7      documents that were produced, and if I could approach and give

       8      those to you.

       9                   THE COURT:   Sure.

      10                   MR. SLACK:   They’re all stapled together, Your Honor,

      11      but there are four separate documents there.

      12                  The other thing I wanted to say just because I didn’t

      13      want to leave it hanging, is that we had extensive

      14      communications with Giants Stadium by both phone and letter

      15      about resolving this, and there were situations where they

      16      continued to produce additional documents.

      17                   In the last step, Your Honor, even though we didn’t

      18      meet, we did offer and because this is an investigation, it was

      19      more important for us to find or to have the information, than

      20      to have some kind of a waiver.       We offered to take the

      21      documents on a non-waivered basis, and that was rejected by

      22      Giants Stadium.

      23                   THE COURT:   Yeah.   I have one last question for

      24      counsel.     One of the things about presiding over a case like

      25      Lehman Brothers is that there are certain disputes that involve

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       1      much more money than we’re talking about today that just get

       2      resolved.

       3                  The parties meet, confer, assess the relative risks,

       4      and make agreements, thereby providing certainty to the parties

       5      and diminishing the overall burden on the Court.        As a result,

       6      I applaud such agreements.

       7                  But there are certain other disputes, this is one,

       8      and we’re about to hear one in the SIPA case in a moment that

       9      just become huge battles with the parties on both sides

      10      spending a lot of time and effort dealing with issues that

      11      maybe shouldn’t get to this level, and I’m not being critical

      12      of anybody in saying that we’re having a discovery dispute in

      13      the middle of a Lehman omnibus hearing, but I can’t help but

      14      note how exceptional this is.

      15                  Clearly at this point in the history of your

      16      discovery efforts, you probably know an awful lot about the

      17      issues that matter.     And what’s currently behind the curtain

      18      may or may not include a smoking gun.       I think we should

      19      assume, at least I’m assuming, that there is no smoking gun.

      20      And that while there may be some incremental advantage to your

      21      seeing the documents, my guess is you’re probably not going to

      22      know that much more than you already know.

      23                  Given that, why is this so important, why is this a

      24      matter that requires all of our time and attention this

      25      morning?

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       1                  MR. SLACK:   I think that’s a fair question, Your

       2      Honor, with the following background, which is the debtor

       3      really has bent over backwards not to have discovery disputes,

       4      which is why this is so unique.      We’ve issued, and I’ve

       5      personally been involved in issuing, you know, more than fifty

       6      subpoenas to counter-parties.      We’ve worked diligently,

       7      sometimes night and day to resolve disputes, and we’ve been

       8      pretty successful doing it, and will continue to do it.

       9                  As I said here, and it’s the reason I wanted to get

      10      up, we offered to look at these documents for purposes of the

      11      investigation on a non-waiver basis.       The information was more

      12      important than -- you know, than some kind of legal ruling, so

      13      we were willing to do that and that was denied.

      14                  This particular derivative matter, Your Honor, is a

      15      300 million dollar claim against the estate.        So it’s -- while

      16      granted we have a very large estate here, 300 million is still

      17      a very, very large claim within the estate.

      18                  There is a question, Your Honor, and it’s one that

      19      we’re looking at as part of the investigation whether, in fact,

      20      it’s a claim at all, or whether it’s a receivable.         And so that

      21      is -- so the swing here is between not just the 300 million,

      22      but also a potential receivable of some magnitude.         So it is a

      23      significant matter to the estate.

      24                  I don’t assume anything.     I don’t know whether the

      25      documents that are being withheld are going to have a smoking

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       1      gun or not, I just don’t know.      What I do know is I believe

       2      we’re entitled to them, and when we didn’t have any alternative

       3      other than being told we weren't going to see them, or come

       4      into the court, it’s the first time that I brought a motion to

       5      compel in front of this Court on a 2004, again I've done a

       6      number of them.    So we tried very hard to resolve this short of

       7      coming to the Court and were unable to do it.

       8                  THE COURT:   Okay.

       9                  MR. CLARK:   We have been trying for over a year to

      10      move beyond the debtor’s hiding behind 2004 saying they get

      11      everything and they give nothing, to a point where we can

      12      discuss the merits of this.      Anything else I have to say would

      13      just be argumentation between counsel and not help the Court,

      14      but we have offered to move this along for well over a year.

      15                  THE COURT:   Okay.   I guess my suggestion to the

      16      parties would be this, during the period of in-camera review,

      17      however long that may be, it seems to me that it would be

      18      desirable for the parties to spend a little bit of time

      19      thinking about possible resolution of this on the merits.         It

      20      seems to me to be an issue that is relatively narrow, although

      21      one as to which there may be significant areas of disagreement

      22      concerning the calculation of loss.

      23                  I don’t pretend to understand all the issues at this

      24      point, but I suspect the lawyers who have been speaking to me

      25      today about the discovery dispute already have a deep

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       1      understanding of the risks and rewards.       I heard the comment

       2      about this may be a receivable, suggesting a doubling down on

       3      the part of Lehman, and I accept the argument for what it is,

       4      argument, but recognize that the substance of this is something

       5      that you might be able to address profitably even while I’m

       6      reviewing the documents.

       7                  MR. CLARK:   Thank you, Your Honor.

       8                  MR. SLACK:   Your Honor, I just want to say the

       9      following, is that -- and make a representation that we are, in

      10      fact, still involved and still engaged in trying to finish the

      11      investigation.    And what I don’t want to happen, Your Honor, is

      12      to engage in some kind of preliminary discussions, and be

      13      confronted by an argument by Giants Stadium that by discussing

      14      the merits that we’re now somehow not entitled to get and

      15      finish our investigation.

      16                  So if we could get a -- essentially a commitment that

      17      they’re not going to try to gotcha us if we sit down and talk

      18      to them preliminarily before our investigation is finished,

      19      then I would certainly be willing to advise my client to sit

      20      down with them.    But I don’t want to be faced with a gotcha.

      21                  THE COURT:   Okay.   You don’t even need that

      22      commitment because I’m going to give you a gotcha from the

      23      bench -- a no gotcha.     If you choose to have a conversation

      24      that could lead to some kind of productive business-like

      25      resolution of this, doing that will not constitute a waiver of

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       1      any of your discovery rights or your rights to continue with

       2      your investigation as you see fit.         And frankly, you could’ve

       3      had such a conversation although it might not have been

       4      productive a year ago.

       5                  This is to be carried until some further omnibus

       6      hearing date after I’ve had a chance to review the documents,

       7      and I’m going to suggest that counsel for Giants Stadium make

       8      arrangements directly with my chambers for an appropriate time

       9      to turn over the documents.         And we’ll see where we go from

      10      there.

      11                  MR. CLARK:     Thank you, Your Honor.

      12                  THE COURT:     Okay.

      13                  MR. CLARK:     May I be excused?

      14                  THE COURT:     Oh, yes, you may.    That’s the end of the

      15      contested LBHI docket and we’re now into the LBI SIPA

      16      proceeding.

      17                  MS. SCHWARTZ:     Your Honor, may I be excused?

      18                  THE COURT:     Yes.    Anybody who wishes to be excused,

      19      may be excused.     Maybe we should just take a moment for

      20      people’s movements to settle down.

      21            (Pause)

      22                  THE COURT:     Okay.    Let’s proceed.

      23                  MR. MENAKER:     Good morning, Your Honor.    Richard

      24      Menaker, special counsel to the SIPA trustee.         The next matter

      25      on the agenda is the motion of RBS N.V. and I gather Mr.

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       1      Bienenstock will start things rolling.

       2                  THE COURT:   I think Mr. Menaker was simply acting as

       3      transition host for the morning.

       4                  MR. BIENENSTOCK:    I appreciate that.    Good morning,

       5      Your Honor, Martin Bienenstock of Dewey & Leboeuf for RBS N.V.

       6                  We’re here pursuant to RBS N.V.’s motion dated August

       7      2, 2011.    The relief requested is an order either dismissing

       8      without prejudice the LBI trustee motion dated June 29, 2011

       9      for an order collecting approximately 345 million dollars in

      10      interest under an ISDA contract, or converting the motion to an

      11      adversary proceeding complaint and making Part VII of the

      12      Bankruptcy Rules applicable.

      13                  And regardless of which alternative, if any,

      14      obviously the Court would choose, we’re asking for a stay of

      15      everything other than discovery pending determination of the

      16      reference withdrawal motion that RBS N.V. filed on August 16,

      17      2011.

      18                  I want to assure the Court that we have tried to take

      19      into account the Court’s ruling in some other matters that have

      20      some similarities, but big differences from this, and also,

      21      Your Honor’s comments just now in the previous contested matter

      22      in the other case.

      23                  After the teleconference that Your Honor hosted with

      24      or Your Honor participated -- presided over between the LBI

      25      trustees, attorneys, and ourselves, we submitted a stipulation

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       1      that Your Honor had so ordered, which provided for the timing

       2      that led to this, and also for potentially a subsequent hearing

       3      on the LBI’s trustee’s motion, but a hearing at which no

       4      disputed facts would be determined, and there are many disputed

       5      facts.

       6                  Perhaps most interestingly since we filed our motion,

       7      the LBI trustee did file the complaint that we said the LBI

       8      trustee should have filed in the first place to collect money

       9      on a contract and served the complaint, and then volunteered,

      10      basically unilaterally, that the LBI trustee would toll the

      11      time for responding to the complaint because even after having

      12      drafted it, filed it, and served it, wanted to come here to say

      13      it should not have to prosecute it, it wants to go forward with

      14      its motion.

      15                  Another development since the teleconference, Your

      16      Honor, is that we have already propounded discovery, document

      17      discovery so far which goes to the disputed issues.          And I

      18      think the other development which for obvious reasons I don’t

      19      want to go into in any detail, but I will say also that the

      20      negotiations on the merits have been enlarged from things just

      21      between counsel to now, business people meetings, and I won’t

      22      go further other than to say that they are occurring, and I

      23      think on all sides, people are proceeding as I hope -- as I

      24      think the Court would want them to proceed.

      25                  There is a very easy method, Your Honor, we believe

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       1      for this motion to be resolved, and then there’s a more complex

       2      method that we believe would lead to the same result, and I

       3      want to mention the easy method first.

       4                  Bankruptcy Rule 9014(c) says the Court at any stage

       5      in a particular matter -- the Court may at any stage in a

       6      particular matter, direct that one or more of the other rules

       7      in Part VII shall apply.     There’s not even a requirement of

       8      cause, there’s just the power of the Court to do that.

       9                  And because this is a matter where the parties have

      10      very different opinions as to what the facts are, and to what

      11      certain things mean, and as Your Honor can see from -- I’ll go

      12      through some of the factual disputes, so Your Honor has in mind

      13      what is going to have to be tried, et cetera, and then there’s

      14      the Stern v. Marshall issue which led to the reference

      15      withdrawal motion.

      16                  We think it -- there’s more than ample cause if there

      17      were need for cause in the first place for the Court simply to

      18      say, please let -- Part VII shall apply so that the parties can

      19      fully vindicate their rights in a matter that is, granted not

      20      of the order and magnitude of the Lehman case that Your Honor

      21      is proceeding over, but for 345 million plus interest, a matter

      22      of significant significance to both my client, RBS N.V. and Mr.

      23      Menaker’s client.

      24                  The disputes, Your Honor, I think are as follows,

      25      which would give the Court a good concept of why the parties

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       1      are certainly started at very different positions and what’s

       2      going to lie ahead, regardless of which Court ends up presiding

       3      over this.     The speech are as follows:

       4                   As is shown by the LBI’s trustee’s initial motion in

       5      this matter, they take the position that RBS N.V. owes 345

       6      million dollars under an ISDA contract, has admitted its owing,

       7      and the only issue to be decided is whether triangular set-off

       8      is enforceable in bankruptcy.

       9                   The RBS position is very much different.       The RBS

      10      position is there is an ISDA contract, but there’s also another

      11      contract called the terms of agreement.        And that contract came

      12      into being because in trade confirmations that RBS furnished

      13      the LBI over 880 times without objections as they were doing

      14      all their trading, those were the terms on which the parties

      15      were transacting business.       And there are at least two terms of

      16      agreement that have particular significance here.

      17                   One is that they grant RBS a security interest in all

      18      property it holds of any of the LBI and Lehman entities.

      19                   THE COURT:   Let me stop you right there.      That’s

      20      paragraph 14 I think of the terms of agreement.

      21                   MR. BIENENSTOCK:    That is correct.

      22                   THE COURT:   I’ve looked at it.    I also looked at the

      23      form of this unsigned apparent adhesion contract created by RBS

      24      internally, and I am frankly shocked that you are hanging your

      25      hat on so weak a hook.      If that’s your hook, I’m really amazed

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       1      at all of the paper you have generated to suggest that this is

       2      a dispute that takes you out of SIM Crude (ph).         I am amazed.

       3      But go right ahead.      I’ve looked at it.   You don’t have to go

       4      into your merits argument.      I’m fully familiar with the facts,

       5      we’re just going to deal with a narrow motion you’re making now

       6      on the Part VII rules and what happens to the trustee’s motion.

       7                  I’ve also read, by the way, with care, your motion to

       8      withdraw reference, and I’ll make no comment with respect to

       9      it.

      10                  MR. BIENENSTOCK:    Your Honor, I wasn’t coming here to

      11      argue the merits of the trustee’s motion, but I wanted to in

      12      part lay out the different facts in dispute.

      13                  THE COURT:    I know them.   I’ve read your papers.       I

      14      don’t want to hear them again.      At least not now.

      15                  MR. BIENENSTOCK:    Okay.

      16                  THE COURT:    I want to hear the specifics of your

      17      pending motion.

      18                  MR. BIENENSTOCK:    Okay.

      19                  THE COURT:    I’m fully familiar with the facts you

      20      allege.

      21                  MR. BIENENSTOCK:    Then the -- sticking to the

      22      procedural motion, Your Honor, as I said a moment ago, there

      23      are two methods of resolution.      One is under Bankruptcy Rule

      24      9014(c), the Court can make Part VII applicable, and doesn’t

      25      have to get into any of the individual factual disputes that

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       1      the papers raise.

       2                  The other does get into the factual disputes because

       3      under Rule 7001.1, actions to collect money must be brought by

       4      complaint in an adversary proceeding with an exception.          And

       5      the exception is when the plaintiff is seeking delivery of

       6      property which ties into Section 542(a) of the Bankruptcy Code,

       7      which is delivery of property of the estate.         They both use the

       8      word deliver property.

       9                  Interestingly, Your Honor, the LBI trustee in his

      10      first motion never said that the money that should satisfy the

      11      alleged contractual obligation was property of the estate.

      12      Very carefully, the LBI trustee said that the LBI contract

      13      rights under the ISDA contract is property of the estate.             It

      14      didn’t say the money was.

      15                  When we made our motion that they should convert

      16      their contested matter to an adversary proceeding, they then

      17      made the next argument that they had not made before.          They

      18      say, oh, no, the money that you should use to satisfy the

      19      contractual obligation that they allege, that is property of

      20      the estate.     They cite -- and that’s really what, in a large

      21      part, their whole case turns on.

      22                  THE COURT:    Well, let me break in because I just want

      23      to understand the simple and the more complicated way for you

      24      to achieve the relief that you’re seeking today.         I really

      25      don’t want to get into the weeds, I want to get into the merits

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       1      of your motion, and what relief you seek today.

       2                    I think the easy way that you had proposed was that

       3      the Part VII rules apply by fiat to the trustee’s motion.             I

       4      assume that’s what you mean by the easy route; is that correct?

       5                    MR. BIENENSTOCK:    Yes, sir.

       6                    THE COURT:   What’s the more complicated route?

       7                    MR. BIENENSTOCK:    The more complicated route is, as I

       8      was just saying, to apply 7001.1.        Subdivision 1 of Rule 7001,

       9      however, turns on whether this is an action to collect money

      10      under a contract or whether this is an action for a turnover

      11      for delivery of property of the estate.         That’s what the LBI

      12      trustee’s opposition to our motion got into.          They had not

      13      previously said that the money was property of the estate.

      14      Now, they are saying that.

      15                    So -- and as we pointed out, we were surprised they

      16      were saying that because the security interest we get would

      17      cause them to have no recovery whatsoever, without any

      18      application of bankruptcy law or anything else.          And we had

      19      possession of the money obviously, it’s our money, so you

      20      perfect an interest in money by possession, we obviously had

      21      that, but they’ve even lost the ability to challenge that

      22      because of the safe harbors and the statute of limitations.

      23                    THE COURT:   Mr. Bienenstock, I’m not making myself

      24      clear.      I don’t want to hear the particular arguments that

      25      you’re now advancing.       I’m interested in knowing the procedural

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       1      route that you are proposing, that is --

       2                  MR. BIENENSTOCK:     Okay.

       3                  THE COURT:   -- maybe I misunderstood what your

       4      alternative was at the outset, but I don’t want to hear the

       5      merits of your argument.       I’ve read your papers.

       6                  MR. BIENENSTOCK:     Okay.   So as I’ve said, other than

       7      by fiat, using Rule 9014(c), the other way to get to the same

       8      result is under Bankruptcy Rule 7001, Subdivision 1 an action

       9      to collect money under a contract is -- must be brought by

      10      complaint in an adversary proceeding, it’s that simple.

      11      They’re arguing the exception to that subdivision.         So that’s

      12      why I have to get into the nitty gritty I got into, Your Honor,

      13      but that’s -- they didn’t argue it originally.

      14                  Also, Your Honor, having argued the exception in that

      15      subdivision, they’re nevertheless still not bringing a claim in

      16      their motion or in their filed complaint under 542(a), so

      17      they’re being internally inconsistent.        If they really believed

      18      the money we should pay them is already their property, then

      19      the right vehicle is 542(a).       They don’t have a 542(a) claim

      20      pending.    They’ve now cited for the first time 542(b) in their

      21      opposition and in their complaint, 542(b) is to pay money owing

      22      under a contract.

      23                  Now, to support their argument that it’s -- the money

      24      owing is property of the estate, they cite Nimco and they cite

      25      Amhall (ph), Nimco being a Southern District decision and

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       1      Amhall being Eastern District.      In each of those cases, the

       2      party owing the money agreed it owed it under the contract.           It

       3      simply wanted to know who to pay it to, and because there were

       4      conflicting claims to it.

       5                  When that happens, that money can be considered

       6      property of the estate.     Here where RBS is saying we have

       7      security interest reasons independently that would let RBS win.

       8      We have triangular set-off that would let RBS win.         There’s no

       9      agreement under the contract.

      10                  What they say is our consent is they cite half in a

      11      misleading way of our Section 6(d) statement.        The part of the

      12      6(d) statement that says on ISDA alone, approximately 345

      13      million was owing, but the beginning of the sentence is, before

      14      getting to set-off which includes the security interest, that

      15      amount would be owing.     Once you apply those things, there is

      16      no admission, consent, or anything like that, with the monies

      17      owing.

      18                  We’ve -- I now want -- so under either way, Your

      19      Honor, we think by fiat, simply because it’s fair, or under

      20      Rule 7001, effectively the reason we think Your Honor could --

      21      should rule for us on both reasons, albeit -- although only one

      22      is necessary, is that for them to prevail on their 7001.1

      23      exception, they basically have to prove their whole case, and

      24      this is not the time for them to prove their whole case.

      25      Because until such time as they prove that the money we’re

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       1      holding is actually their money, they can’t win on their

       2      procedural argument.

       3                  So it’s relatively circular, but since this is not

       4      the time for the factual disputes to be determined, and because

       5      the ISDA contract is governed by UK law, the terms of agreement

       6      by New York law, they raise all these things in their opening

       7      motion, Your Honor.

       8                  The Court for this procedural hearing would have to

       9      go through all of those factual disputes to rule on the 7001

      10      issue if their exception is to prevail.       But under 9014(c), the

      11      Court doesn’t have to resolve any of those contested issues.

      12                  THE COURT:   Have the parties on their own attempted

      13      to simplify what you are complicating?       Because it’s very

      14      obvious to me, Mr. Bienenstock, from the review of your papers,

      15      that you are engaged in an issue proliferation exercise, rather

      16      than an issue simplification exercise.       I’m not going to

      17      comment on my views now because it’s premature of some of the

      18      things you’ve said in your papers, but I’m concerned for

      19      reasons that are somewhat similar to comments made at the end

      20      of the Giants statement argument with regard to discovery, that

      21      the parties here, despite the fact that you say there’s been

      22      signs of progress at the business level, are not making this

      23      simple, but instead creating straw men here and in the district

      24      court to somehow take this out of what is really a fairly

      25      standard dispute that I hear and determine routinely.

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       1                  You don’t have to dispute that.     I’m just saying it.

       2      So what I want to know is not the merits of creative arguments,

       3      but rather what you have done, if anything, to try to resolve

       4      the procedural conflicts that you have created.

       5                  MR. BIENENSTOCK:    Well, sure, Your Honor.     When we

       6      received their motion, we engaged in a colloquy by telephone.

       7      We explained our position.      When that didn’t work, Your Honor

       8      presided over the teleconference I mentioned.        After that we

       9      reached a stipulation.     After that we were pleasantly surprised

      10      that they actually did file a complaint.       What we were not

      11      pleasant surprised at, and which is what Mr. Menaker will

      12      obviously explain to Your Honor is having filed the complaint,

      13      where they’ve changed their claims, they’ve obviously thought

      14      about this some more, and now have different legal theories,

      15      they still want to come here and argue they shouldn’t have to

      16      go forward with the very complaint they filed.        And we’re not

      17      sure why they did that, but as I mentioned earlier, the good

      18      news was that in 2008 or 9, when the LBLI trustee first raised

      19      this issue, we answered on the merits comprehensively sent them

      20      a letter.

      21                  The next thing that happened was, a year went by, no

      22      response.    Then they asked for a tolling agreement which

      23      doesn’t just toll the statute of limitations, it basically says

      24      don’t litigate, we want to resolve it.

      25                  THE COURT:   You’re going in the wrong direction, Mr.

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       1      Bienenstock.      I don’t want to hear about what happened over the

       2      years.      I want to know what, if anything, has been done by the

       3      parties to try to deal with today’s procedural reality.

       4      Today’s procedural reality being that there is a trustee motion

       5      and there is a parallel adversary proceeding with overlapping

       6      issues.      You clearly have the right to discovery in the

       7      adversary proceeding.       To what extent has there been any

       8      consensual behavior by the parties to try to resolve your Part

       9      VII rules’ proposal, which is the easy path to resolving your

      10      pending motion.

      11                    MR. BIENENSTOCK:    Your Honor, we’ve -- on the RBS

      12      side, we feel like we did everything we could.          We started

      13      discovery and we excluded discovery from the stay we’re

      14      requesting precisely because we don’t want to delay.           We

      15      explained all our theories first orally and when they didn’t

      16      work, you know, in writing to the trustee.

      17                    As I -- I’m somewhat stumped, Your Honor, because I

      18      don’t know why when they went to the trouble of filing their

      19      complaint, they still insisted on coming here and arguing, they

      20      shouldn’t have to -- they don’t want to prosecute it, they want

      21      to go back to their motion.

      22                    THE COURT:   Let me ask you another question, Mr.

      23      Bienenstock.      Why do you need a stay and why do you think the

      24      stay is appropriate, particularly if it carving out discovery,

      25      what is the behavior within the contested matter that you’re

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       1      concerned about?

       2                   MR. BIENENSTOCK:    That I can answer.    According to

       3      the stipulation that Your Honor so ordered, the LBI trustee

       4      comes here, I think it’s on October 20th, and although the

       5      stipulation says no contested disputed facts will be

       6      determined, they are going to be seeking judgment on the

       7      merits.     And we have outstanding discovery, with due respect,

       8      Your Honor, we think that the terms agreement, et cetera, I

       9      won’t go into it, have been accepted by the Second Circuit

      10      before, that these are part of the contractual relations among

      11      the parties.     They’re obviously disputed because in the LBI

      12      trustee’s initial motion, he knew about them.         We told -- we

      13      were candid, and he tries to take issue with them, but

      14      notwithstanding the factual disputes between the parties, he’s

      15      made crystal clear as evidenced by the stipulation Your Honor

      16      so ordered that he wants to show up on October 20 on the

      17      merits.

      18                   There’s no summary judgment motion pending or

      19      anything like that.      I don’t think there could reasonably be,

      20      given the outstanding discovery, and the factual issues, but

      21      that’s why we need the stay.

      22                   Now, we don’t mean, as Your Honor sees, to slow

      23      anything down.     We already started our discovery.      The

      24      reference withdrawal motion we made, he’s responded, our reply

      25      is due in a few weeks, nothing is being done to slow anything

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       1      down.

       2                   THE COURT:   So is your request for a stay really a

       3      request for an adjournment sine die pending the outcome of your

       4      motion to withdraw the reference?        Is that what this is?

       5                   MR. BIENENSTOCK:    Well, and discovery so that we can

       6      be ready for the ultimate either summary judgment or a hearing

       7      on the merits.

       8                   THE COURT:   I don’t know what you mean by and

       9      discovery.     I’m trying to understand, as plainly I can why you

      10      want the stay, and I think what you said was, you want the stay

      11      so that the trustee is not permitted to proceed on the merits

      12      of his motion.

      13                   MR. BIENENSTOCK:    That’s one reason.

      14                   THE COURT:   Is there another reason?

      15                   MR. BIENENSTOCK:    Yes.   Because we need -- he might

      16      proceed by summary judgment.       He -- using the motion forum as

      17      opposed to the adversary proceeding he hasn’t moved for summary

      18      judgment.

      19                   THE COURT:   So are you, in effect, seeking what

      20      amounts to a procedural hat trick in which you deal with issues

      21      relating to your Stern v Marshall arguments in the district

      22      court, deal with the issues that concern you on the merits

      23      here, only in the context of the adversary proceeding, which

      24      prevents full discovery, or third point, in the context of a

      25      transformed contested matter practice that takes on the form

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       1      that you want, but it includes manifest discovery rights and

       2      other procedural protections.           Is that the hat trick that you

       3      seek, meanwhile nothing happens in the bankruptcy court that

       4      bothers you --

       5                    MR. BIENENSTOCK:    No.

       6                    THE COURT:   -- get it all your way, is that what this

       7      is about?

       8                    MR. BIENENSTOCK:    No, Your Honor.     And very

       9      specifically -- Your Honor, respectfully I submit just got it

      10      wrong.      We read Your Honor’s order and decision in the Lehman

      11      JPM dispute, and we specifically tailored everything we’re

      12      doing, so as not to be in the position where we’re even

      13      suggesting that we’re saying we can win here, but not lose

      14      here.

      15                    So let me go -- this is very important obviously what

      16      Your Honor just raised, and I want to make our position very

      17      clear.      We’ve said from the outset, we filed a proof of claim,

      18      their first in underwriting loans or some such thing, having

      19      nothing to do with the trustee’s counterclaim.           They filed

      20      their counterclaim in the form of the contested matter motion.

      21      We said at the outset, this is a Stern v. Marshall issue,

      22      you’re collecting contract damages, we’re entitled to an

      23      Article 3 forum to exercise the essential attributes of

      24      judicial power.

      25                    We are moving for reference withdrawal, basically to

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       1      vindicate our rights under Stern v. Marshall.        It is clear,

       2      unlike perhaps in the other matter, that the facts that they

       3      need in this contested matter are different than our proof of

       4      claims, so resolving our proof of claim can’t resolve this

       5      contract dispute.

       6                  We are dealing with the reality, Your Honor, that

       7      while we have strong beliefs that Stern v. Marshall applies,

       8      that this matter is here until a Court says it’s not here.            So

       9      what we have come to court here with, is a requested procedure

      10      that will not slow things down, so that either court that

      11      ultimately hears this, will not be slowed down.        We’ve started

      12      our discovery, we just want to be able to -- like in any case

      13      for 345 million dollars, we want to be able to take the

      14      discovery that’s reasonable and that we’re entitled to.

      15                  If they move for summary judgment, we want to be able

      16      to show that there are disputed facts, but to some extent, we

      17      need discovery for that.       We also need it for the ultimate

      18      hearing on the merits.     And frankly, Your Honor, I have no -- I

      19      don’t understand how perhaps the Court came to the conclusion

      20      that we’re here for some kind of hat trick, everything in our

      21      favor, nothing in theirs.       We’re doing everything we can simply

      22      to get ready for trial, in whatever court that happens in.

      23                  THE COURT:   Maybe you misunderstand my --

      24                  MR. BIENENSTOCK:     I must have.

      25                  THE COURT:   -- use of a metaphor that may not be

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       1      correctly applied to what I view as a triple play.         The three

       2      things that you are engaged in involve one, a transformation of

       3      the contested matter, which has been filed against your client,

       4      dealing one way or the other with the adversary proceeding,

       5      which involves some different claims, and then dealing in a

       6      third proceeding in the withdrawal of reference.

       7                  I didn’t say that you were engaged in a strategy

       8      that’s inappropriate.     I didn’t say that you were doing

       9      anything that was inconsistent with your duties to your client.

      10      But if I connect what I’ve just said to something I said

      11      earlier, you’d engaged in issue proliferation, that’s hard to

      12      deny but you don’t have to say anything in response to it.

      13                  I view what you are doing as complicating in as many

      14      ways as you can creatively do it consistent with Rule 11, what

      15      started out as a standard issue, relatively standard issue,

      16      motion to enforce the automatic stay and to seek recovery of

      17      damages, you’ve sought to distinguish that, we don’t need to

      18      get into the merits.

      19                  I’m simply saying that a relatively plain vanilla

      20      procedural start has been transformed into a matter of enormous

      21      complexity, mostly through your design.       My concern --

      22                  MR. BIENENSTOCK:    I would say it’s the opposite.

      23                  THE COURT:   My concern is that the parties not

      24      proliferate the issues, but rather manage the issues, hence my

      25      earlier question which got sidetracked as to what you have done

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       1      within the context of this case to make it easier, smoother,

       2      more efficient, as opposed to just the opposite, which is what

       3      I have perceived.

       4                  No merits conversations, please, I don’t want to hear

       5      any of your merits arguments.

       6                  MR. BIENENSTOCK:    I’m not --

       7                  THE COURT:   I’ve read them.      I’ve evaluated them.

       8      But I haven’t made up my mind with respect to them.

       9                  MR. BIENENSTOCK:    Your Honor, the first thing I must

      10      say in response to what you just said is, what you characterize

      11      is the standard stay enforcement, we think is a horrible abuse.

      12      There is no way the motion can ever get to the stay issue

      13      without deciding the contract issue, and they’re camouflaging

      14      that this is an action on a contract, a Northern Pipeline

      15      action as an excuse to make it seem like a contested matter in

      16      a court proceeding.

      17                  THE COURT:   We don’t need to get into

      18      characterizations here.

      19                  MR. BIENENSTOCK:    Okay.   But --

      20                  THE COURT:   I’m simply urging --

      21                  MR. BIENENSTOCK:    So what we’ve done is --

      22                  THE COURT:   I’m urging that in the context of this

      23      case now, that the parties actually try to make some progress

      24      as opposed to gaming the system.

      25                  MR. BIENENSTOCK:    Well, okay.      We obviously disagree

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       1      vehemently that we gamed the system as opposed to number one,

       2      made sure that we can assert and vindicate all of our defenses.

       3      Your Honor calls that proliferation of issue, we call it -- I

       4      call that, we have defenses, we want to be able to assert them

       5      fairly.

       6                  Number two, Your Honor can tell from everything we’ve

       7      done, it’s been quick, it’s been timely, we’re getting ready

       8      for the ultimate resolution.          That’s what we’re -- that’s the

       9      best answer I can give Your Honor to your questions, what are

      10      we doing to resolve this.          We are getting ready with all the

      11      facts to get to the ultimate resolution in whatever court we’re

      12      ultimately told is going to make that determination.

      13                  THE COURT:     Okay.     I think I’ve probably heard enough

      14      unless there’s more you want to add at this point.           I’d like to

      15      hear from Mr. Menaker.

      16                  MR. BIENENSTOCK:        That’s it, Your Honor.

      17                  MR. MENAKER:     Your Honor, if Your Honor please, may I

      18      address the last question you asked, which is that I think it’s

      19      fair to say that off the record the trustee and counsel for the

      20      trustee and RBS and its counsel get along very well, and have

      21      had productive discussions and there’s productive activity

      22      going on.

      23                  This started back in March, long before any

      24      proceeding began, you don’t want to hear the history of that,

      25      but -- and since the proceedings began, I have to say that

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       1      dealings between the parties, off the record, have been

       2      appropriate, I believe.       I think the Court would be pleased to

       3      know how we have proceeded.

       4                  On the record it is inexplicable to me that there

       5      should be a cascade of ad homonyms, in papers which you’ve

       6      heard just now and a few remarks that were made are a shadow of

       7      that of what has actually appeared in the papers.         I was

       8      personally accused in a letter that came to Your Honor of

       9      engaging in discourtesy.       I don’t understand that.    But I can

      10      tell you that it does have an impact on our ability to confer

      11      about making the procedures work simply and effectively and get

      12      the job done without a multiplication of the proceedings.

      13                  THE COURT:     Let me then ask you a very, very pointed

      14      and I think uncontroversial question.         The narrow procedural

      15      issue presented by the motion is stop the freight train of your

      16      motion for relief under the automatic stay to compel payment,

      17      and incorporate into that motion practice procedural safeguards

      18      from the Part VII rules.       Is that or is that not a problem from

      19      the perspective of the trustee?

      20                  MR. MENAKER:     Of course not.    We have no problem with

      21      importing all possible and available procedural safeguards

      22      under Part VII, to the extent appropriate in the circumstances

      23      of the case.

      24                  One thing this case doesn’t need is any discovery

      25      because -- may I respond to your question by referring to the

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       1      merits for a moment?

       2                  THE COURT:     Look you may.    One of my -- my comments

       3      earlier about the merits represented a desire on my part to

       4      focus on the substance of the motion practice on today’s

       5      calendar, which is a purely procedural motion.         And to the

       6      extent that we have contagion of the facts bleeding into the

       7      procedural aspects of this, this simply becomes an opportunity

       8      for lawyers to argue matters that I have read and don’t want to

       9      hear about today.

      10                  I understand that RBS has a whole host of arguments

      11      designed to take this out from the umbrella of triangular set-

      12      off and designed to identify other procedural arguments that

      13      create potential leverage.       I think I see what’s going on.

      14      That doesn’t mean that I’m in any way dismissing the validity

      15      of the points made.      But I will recognize that it’s the first

      16      time in three years that some of these arguments have been

      17      identified as potential arguments, and Northern Pipeline was

      18      the law long before Stern v. Marshall.

      19                  So I don’t want to get into those merits.       I don’t

      20      want to talk about the terms of agreement.         I don’t want to

      21      talk about the merits of the dispute.         I want to talk about how

      22      we can solve today’s problem.

      23                  MR. MENAKER:     All right.    Your Honor, I’ll take that

      24      as guidance.    And first, on the matter of -- I think there’s

      25      really two parts to the motion that RBS has before the Court

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       1      today.

       2                  One is whether the 9014 contested matter is

       3      appropriate.    I’ll say parenthetically that the adversary

       4      proceeding is sitting in abeyance, it is a protective

       5      submission, it is intended to sit there, not -- we’ve

       6      stipulated that it sits there, we do nothing with it, we wait

       7      to see what can be accomplished on the simpler 9014 approach.

       8      If it can’t be done that way, then we can move quickly forward

       9      on the adversary proceeding.        It is not in play at the moment.

      10      I want to emphasize that, and they know that, and we have a

      11      stipulation on that, and they don’t have to do anything on it

      12      until X number of days after there’s a ruling with regard to

      13      what we’re dealing with here.

      14                  THE COURT:     Okay.   So does that mean that if that’s

      15      being held in abeyance and you have no objection to the

      16      incorporation of the Part VII rules, that you have what amounts

      17      to an agreement, although you didn’t talk to each other about

      18      it, as to how the contested matter will proceed?

      19                  MR. MENAKER:     I have -- the answer on that is yes.

      20      And you’re correct that we didn’t talk about it, and I think

      21      that the approach here is that the Part VII rules are, in large

      22      part, always included under Part IX or under a 9014 proceeding.

      23      And anything else in Part VII that is appropriate here, and if

      24      it were to turn out the discovery were appropriate, we would

      25      certainly go forward with discovery on it, we don’t think any

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       1      discovery is appropriate, we don’t think there’s any issue of

       2      fact.

       3                  THE COURT:     Okay.     What’s your position with respect

       4      to the request that this be stayed?

       5                  MR. MENAKER:     Well, the default under 550.11(c) is no

       6      stay.    We start with that proposition.        Just because you’re

       7      worried about what’s happening in the bankruptcy court and you

       8      decide to go to the district court and say you were going to

       9      withdraw the reference, which by the way is not a withdrawal of

      10      reference under 157 here.          This is a SIPA proceeding, so it’s a

      11      revocation of the removal that they would be seeking.          That may

      12      be as a practical matter, a distinction without a difference,

      13      but I’m not sure that it is.          But we needn’t get into that

      14      today.

      15                  This is here on a mandatory removal under

      16      78(eee)(B)(4).    It didn’t come here under the judiciary act.

      17      It didn’t come here under the standing order.          And that is a

      18      factor that certainly the district court would have to consider

      19      on this motion.

      20                  THE COURT:     I assume you’re briefing that to the

      21      district court.

      22                  MR. MENAKER:     We were briefing that --

      23                  THE COURT:     We don’t need to get into that here.

      24                  MR. MENAKER:     We’re briefing that separately, yes.

      25                  But we start with the proposition there should be no

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       1      stay.    So there’s a hurdle.    The burden is on the moving party

       2      to show that a stay is really needed.       And there’s standards

       3      for that.    I mean RBS has said that there are matters of

       4      judicial efficiency, institutional considerations, it’s wrong

       5      for there to be two proceedings, one here, one there at the

       6      same time, a state of affairs of which they are responsible

       7      for.    That is not the basis upon which a stay ought to be.

       8                  Granted, a stay must be granted or may be granted,

       9      discretion -- on the Court’s discretion if the standards that

      10      are established in the cases are satisfied.        In the first item

      11      is likelihood of success on the merits.       So -- and I say this

      12      very respectfully, Your Honor, on the issue of the stay, you do

      13      have to give some consideration to whether there’s any merit in

      14      the removal grounds that have been asserted.

      15                  And this is as a core a core proceeding as could be

      16      imagined.    It is a routine matter.     We’re dealing with a motion

      17      that’s been made for enforcement of the stay, and it’s not just

      18      the 362(a) stay, there’s also stays in the liquidation -- SIPA

      19      liquidation order.

      20                  THE COURT:   Let me break in for one second.      Mr.

      21      Bienenstock in his papers argues that you have the wrong set of

      22      standards in mind when you talk about, in effect, traditional

      23      grounds for the grant of the stay pending appeal, and likely

      24      the success on the merits is actually not one of the standards

      25      I need consider, instead it’s a broad discretion having to do

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       1      with -- I won’t put words in his mouth, but I’m going to use

       2      the words, literally an efficient case management in light of

       3      the fact that the motion for withdrawal of the reference is

       4      pending, and I have the ability, although I may not choose to

       5      exercise that ability, to hold everything in abeyance while the

       6      district court chooses to act on the pending motion.

       7                  I have other matters currently pending where there

       8      are motions to withdraw the reference pending, and I have not

       9      issued any stay.     So one of the real questions here is why I

      10      should or should not stay this particular contested matter

      11      while a creative motion to withdraw the reference is pending

      12      before the district court.

      13                  MR. MENAKER:   Two aspects of that observation.      The

      14      first is the cases that are cited by RBS in support of its

      15      reduced standard approach to stay are twenty years old or more.

      16      A much more recent case is the Dana, In Re: Dana Corp. from

      17      2007 from this court, which flatly states each of the standards

      18      that are traditional standards for a stay.

      19                  I believe their standards for a stay, I mean, that

      20      seems to be the law currently.      Maybe it’s some years ago, two

      21      decades ago there were some cases that were -- took a more

      22      discretionary approach, or a -- it’s not more discretionary, a

      23      loser approach on whether there are standards.        But there are

      24      clearly standards.

      25                  And it also does make sense, Your Honor, to consider

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       1      whether this range of arguments that have been made, a number

       2      of those arguments were presented to you in the motion that’s

       3      before you now.    You have also seen now the full panoply of

       4      arguments that have been made in the district court.          They’re

       5      not going to win in the district court says I.        I don’t know,

       6      but I think this Court might well conclude, I think this Court

       7      should conclude, there is very little likelihood of success on

       8      the merits, on the motion to withdraw.

       9                  And on that ground alone, it would be a mistake to

      10      exercise your discretion and put this off for what could be

      11      months in order to await the ruling.        I suspect actually it

      12      will not be months.      I suspect that the decision will come down

      13      more rapidly than that, and we have put in our opposition

      14      papers yesterday in the district court, and I believe this

      15      matter comes on with a reply at the end of this month, so it’s

      16      going to be heard rather rapidly.

      17                  THE COURT:     Okay.   This is a matter that has been on

      18      the backburner for quite a while.        How is the trustee

      19      prejudiced if this matter is stayed here pending the

      20      determination of the motion to withdraw the reference, thereby

      21      giving us at least clarity as to the right procedural forum for

      22      disposition of these issues?        And I ask that particularly in

      23      light of your last --

      24                  MR. MENAKER:     I understand exactly.

      25                  THE COURT:     -- comment which indicated that this is

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       1      probably not going to be a particularly time-consuming process

       2      of determining once and for all whether the motion filed by RBS

       3      has any merit.

       4                  MR. MENAKER:   First, I think it would be fair to say

       5      that there was a passage of time from when the issue first

       6      arose of the Section 6(d) statement which admitted a 347 and

       7      then asserted the triangular set offs came in May of 2009.

       8      That’s eight months into the liquidation, and there was

       9      considerable back and forth that went on right after that.

      10      There’s an exchange of letters, some of which appears in the

      11      papers.

      12                  This matter then was told last February we were

      13      engaged with special counsel and we moved rather rapidly and

      14      communicated with counsel for RBS, and there were discussions

      15      about meeting.    There were discussions over the phone, and then

      16      there was a meeting in the spring, a face-to-face meeting with

      17      counsel, so there was considerable activity.        So to call it --

      18      at this point, this spring it’s no longer on the backburner.

      19      And it’s only after a considerable back and forth that in June,

      20      the motion was brought.     And the motion was brought on a

      21      reasonably, on a fast-tracked basis.       In other words, it was

      22      not an adversary proceeding, it was a motion.

      23                  For the reason that the trustee has made a commitment

      24      that was announced at the state of the estate presentation,

      25      that the trustee wishes to make a substantial distribution in

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       1      2012, perhaps in the spring of 2012, and 347 less a million

       2      five, which is the set-off we acknowledge, so 345 million

       3      dollars, which really ought to be in the hands of the trustee

       4      is of significance to the trustee in that regard.

       5                   So there is harm.       It’s not just -- it’s not harm to

       6      the trustee, it’s harm to the customers, it’s harm to the

       7      beneficiaries of the work that the SIPA trustee does in this

       8      liquidation.     And while we’re not talking about billions of

       9      dollars, we’re talking about a substantial enough amount of

      10      money that it makes a difference.

      11                   THE COURT:     Okay.

      12                   MR. MENAKER:     I do want to say a word about the

      13      reference to Enron creditors that appears in the papers, and

      14      that showed up in the reply, and that we did not see in the

      15      opening papers.

      16                   I don’t want there to be any mistake about Enron

      17      creditors and how it could conceivably apply in this case.

      18      Your Honor’s expression suggests that maybe I don’t have to say

      19      anymore about that.

      20                   THE COURT:     Okay.    Well, apparently I have a

      21      transparent expression on my face.          Mr. Bienenstock, do you

      22      want to say anything more?

      23                   MR. BIENENSTOCK:       Thank you, Your Honor, very

      24      briefly.

      25                  First, I think just as the scheduling we had

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       1      originally requested, we have to resort to ask the Court for a

       2      teleconference to get it resolved.       Here Your Honor always

       3      creates a better, I guess, environment because the LBI trustee

       4      has now agreed, I think, if I heard right, that the Part VII

       5      rules can apply.    The easiest way to apply them is to go

       6      forward with his filed complaint, that is one of the rules that

       7      we proceed by complaint, but that might resolve it.

       8                  As for the stay, perhaps I should’ve said the obvious

       9      because the obvious is the most easiest to overlook.         The Court

      10      that grants the stay in this case we’re asking Your Honor,

      11      controls it.    So as I explained earlier, our concern is only to

      12      be able to take appropriate discovery and vindicate all our

      13      substantive rights at the trial.

      14                  If things got -- are taking too long for whatever

      15      reason Your Honor could always revisit it.        But given the LBI

      16      trustee’s stated and written intent to basically get judgment

      17      on the merits on October 20 before we’ve had our discovery et

      18      cetera and before presumably the district court will have had

      19      an opportunity to have oral argument and rule, that concerned

      20      us.   And so if the Court grants a stay, it’s obviously subject

      21      to the Court’s ability to revisit it whenever the Court

      22      believes is appropriate.

      23                  There were many comments Mr. Menaker made that I

      24      don’t think are well taken or correct, but I don’t have the

      25      feeling Your Honor really wants to spend the time at this

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       1      hearing for that type of back and forth.          So I think the

       2      critical part is, if I heard right, we have an agreement that

       3      there should be an adversary proceeding, and Your Honor has

       4      heard the --

       5                   THE COURT:   That’s not what --

       6                   MR. BIENENSTOCK:    -- arguments on the stay.

       7                   THE COURT:   That’s not what Mr. Menaker said.         I

       8      think what he said was, that the adversary proceeding is being

       9      held in abeyance, that the contested matter may be one in which

      10      Part VII rules apply to the extent applicable.          I believe

      11      that’s what he said, but he needs to confirm that I have

      12      correctly --

      13                   MR. BIENENSTOCK:    Well --

      14                   THE COURT:   -- stated what I think he said.

      15                   MR. BIENENSTOCK:    Okay.     One of the things that I

      16      would take issue and will now with what Mr. Menaker said is the

      17      adversary proceeding being held in abeyance.          He filed it and

      18      served it.     He then unilaterally volunteered a tolling of the

      19      times to respond.     It’s out there.       We don’t understand why we

      20      just shouldn’t respond to it and that we can -- especially

      21      since it has different claims, which apparently are, after they

      22      thought through things, what they’d rather proceed on, it ought

      23      to be the vehicle that we go forward on, and if -- even if all

      24      Mr. Menaker said or meant to say was Part VII should apply to

      25      the contested matter, the easiest way to accomplish that is to

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       1      go forward on the complaint; otherwise, do we answer the motion

       2      as if it were a complaint or not, and we have that type of

       3      question which should be unnecessary.

       4                  And on the stay as I think I explained, to us since

       5      Mr. Menaker spoke to -- the Court has to look to probability of

       6      success, as I said earlier, we filed a proof of claim for

       7      underwriting loans, they filed this contract action.         Yes, they

       8      put a stay on top of it, but they -- you don’t know if there’s

       9      a violation of the stay or not until you decide the underlying

      10      contract action.    We think Stern v. Marshall clearly applies,

      11      and the probability of success is very significant.         And

      12      frankly, in none of Mr. Menaker’s papers has he explained why

      13      that’s not the case.

      14                  THE COURT:     Let’s limit the current back and forth to

      15      the question of what Mr. Menaker said, and whether or not we’re

      16      dealing with the contested matter as to which Part VII rules

      17      will be deemed to apply, or whether or not we’re dealing with

      18      an adversary proceeding.

      19                  It’s obvious that Mr. Bienenstock would prefer that

      20      the contested matter be held in abeyance, and that the

      21      adversary proceeding be the vehicle for determining the rights

      22      of the parties, but he’s the defendant and he doesn’t get to

      23      choose.

      24                  MR. MENAKER:     I don’t want to have to tell the

      25      trustee that I was the victim of a gotcha.        The fact is that we

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       1      would like to proceed with the contested matter under 9014 and

       2      are happy to have such Part VII rules as may be appropriate,

       3      either because they’re mandatorily included within 9014, or

       4      because they’re appropriated included for the purposes of this

       5      matter.

       6                  We have not brought a contract action.      We have

       7      brought an adversary proceeding in abeyance in parallel with

       8      our contested matter with the same predicates, so that’s not

       9      correct.    And I hope it is clear that by saying that we are

      10      willing to have Part VII rules apply, the next thing I will

      11      here will not be, oh, you have admitted that you’ve given up

      12      your contested matter and you are now proceeding only as an

      13      adversary in the matter.       That is not what we have said.

      14                  MR. BIENENSTOCK:     Your Honor mentioned I’m the

      15      defendant and I don’t get to choose.       There are two matters

      16      they have commenced.     We could join issue on the adversary

      17      proceeding, in that sense I guess we can choose, but we don’t

      18      want to play the games.

      19                  Procedurally, Your Honor, we’re just looking at what

      20      is the best way to get ready for resolution with the least

      21      disputes.    We know how to answer the complaint.      We can move

      22      our answer, et cetera, know how to take discovery, there are

      23      rules for summary judgment.

      24                  On the motion that he thinks should be heard on the

      25      merits on October 20, I explained already, that we can’t deal

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       1      with.   There we can’t be fairly prepared.       We will not have had

       2      adequate discovery and we don’t know what further response to

       3      file to it until we have had adequate discovery.        So it’s a

       4      little disingenuous to say, well Part VII can apply to the

       5      extent appropriate.      What’s the extent appropriate?     We’ll

       6      constantly have these disputes.        It’s just much easier to go

       7      forward with the complaint.        Their complaint, they drafted it,

       8      they didn’t have to do it.        They drafted it, they filed it,

       9      they served it.

      10                  THE COURT:    Okay.    I’m going to rule with respect to

      11      the RBS motion.    Everything that has been said on the record

      12      that relates to the merits of the dispute plays no role in

      13      determining this purely as a procedural matter.

      14                  It’s obvious to the Court that from the very early

      15      days of this contested matter, counsel for RBS has been eager

      16      to come up with a procedural device that would allow RBS to

      17      assert a host of defenses to the trustee’s motion that would

      18      take it out of the ordinary stay violation context.

      19                  Nothing that I’m about to say is designed to limit in

      20      any way RBS’s rights to raise whatever arguments and defenses

      21      it feels appropriate, regardless of whether that is occurring

      22      within the context of the contested matter first initiated by

      23      the trustee, or in the context of the adversary proceeding more

      24      recently initiated by the trustee.

      25                  The motion brought by RBS is styled in a manner that

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       1      dictates the nature of the relief that I need to issue.           One is

       2      a request that the trustee’s motion be dismissed without

       3      prejudice or that alternatively that motion be converted to an

       4      adversary proceeding complaint.       That aspect of the RBS motion

       5      is denied.

       6                   It is denied in part because the trustee has already

       7      brought an adversary proceeding complaint that in effect

       8      responded to the invitation made by RBS in this motion.           RBS

       9      didn’t get exactly what it asked for, but it did get an

      10      adversary proceeding.

      11                   The motion also asks that there be what amounts to

      12      incorporation of the protections otherwise available to a

      13      defendant in an adversary proceeding within the contested

      14      matter originally commenced by the trustee.         I treat the

      15      statements made by counsel on the record today, although if you

      16      read the transcript it may not look like a clean agreement, as

      17      an agreement by the trustee that the Part VII rules, to the

      18      extent applicable, will be deemed to apply to the contested

      19      matter brought by the trustee.

      20                   By virtue of these rules being incorporated by

      21      reference into the contested matter, RBS should be in a

      22      position to pursue all appropriate discovery.         I make no

      23      judgment as to what discovery is appropriate at this point, and

      24      to have all of the procedural protections otherwise available

      25      in an adversary proceeding context.

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       1                  As to the request that there be a stay of all non-

       2      discovery related proceedings in respect of this motion brought

       3      by the trustee pending a determination of the motion to

       4      withdraw the reference which is now pending in the district

       5      court, I deny the request for a stay.       There’s no basis for a

       6      stay.

       7                  I also believe as a matter of general practice that

       8      it is inappropriate for motions for withdrawal of the reference

       9      that are predicated on Stern v. Marshall to produce, except in

      10      extraordinary circumstances, a stay of proceedings in the

      11      bankruptcy court.

      12                  As Mr. Bienenstock acknowledged in his comments,

      13      unless and until the motion to withdraw the reference is

      14      granted, this Court controls its docket in those matters that

      15      the parties choose to file that are ultimately assigned to me.

      16                  In the wake of Stern v. Marshall, there are many

      17      motions to withdraw the reference that have been filed.         Not

      18      only in this court by all over the country.        I do not predict

      19      outcomes, but as to this outcome I am confident in making the

      20      following prediction.     Not all of those motions will be

      21      granted.

      22                  In a setting in which the parties are seeking to

      23      exploit to the extent there is an advantage in exploiting it,

      24      Stern v. Marshall for procedural advantage, it is a genuinely

      25      bad idea for there to be a practice of staying matters in the

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       1      bankruptcy court pending the outcome of those motions.

       2                   There’s another reason for denying the request for a

       3      stay, however, and it’s probably a much more significant

       4      rationale.     I have the power as does every bankruptcy court

       5      judge, notwithstanding our Article 1 status to manage my docket

       6      in the interests of justice, and I intend to do just that.

       7                   There’s no need for a stay to protect the interest of

       8      RBS.    If RBS has a legitimate grievance of any sort, and an

       9      argument to be made regarding an adjournment of the hearing set

      10      for October or any other month for that matter, I will consider

      11      that.    There’s no need to stay proceedings, especially in an

      12      environment in which RBS itself is carving out a stay of

      13      discovery from its requested stay.

      14                   In other words, the litigation is going to proceed in

      15      all respects as it would up to the date of hearing, and I view

      16      this request as a disguised request for a continuing

      17      adjournment of what RBS must view as the most coercive aspect

      18      of the present motion brought by the trustee, the potential for

      19      an adverse determination with respect to a stay violation.

      20                   We will hear that when the Court is ready to hear it.

      21      That may be in October.      That may be later.     But I encourage

      22      the parties as I tried to do earlier in today’s hearing to see

      23      if they can’t reach agreements outside of the courtroom, as

      24      well as in the courtroom, particularly as these agreements

      25      relate to the orderly administration of this dispute.

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       1                    I will accept an order consistent with the ruling I

       2      just made, and would hope that the parties could agree as to

       3      the form of that order.

       4                    We are adjourned until the two o’clock adversary

       5      calendar unless there’s anything more from the parties.

       6                    MR. BIENENSTOCK:    Your Honor, may I ask a question?

       7      The stipulation that Your Honor so ordered says something to

       8      the effect of subject to the Court’s ruling today RBS would

       9      respond to the motion and then there’s a hearing scheduled I

      10      think for October 20.       So the immediate question is what that

      11      means.      We’ve already propounded discovery but can’t possibly

      12      completed and it’s not the final discovery, to get ready for a

      13      hearing on the merits.       Is it fair for us to assume that the

      14      meaning of the Court’s ruling today is the -- those times have

      15      to be changed to something we -- hopefully the parties can

      16      agree on?

      17                    THE COURT:   Not necessarily.    The parties can agree

      18      to change the dates, absent any agreement to change the dates,

      19      it’s listed for hearing on October 20th.         At the hearing on

      20      October 20th, assuming you show up and make the argument that

      21      you’re prejudiced in going forward because you don’t have the

      22      discovery that you need to be prepared, I will presumably

      23      consider that as a request for adjournment.

      24                    If the parties meet and confer concerning the literal

      25      handling of the case as I suggested in my remarks, you might

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       1      come up with a new schedule.      And if you don’t, I’ll see what

       2      I’ll do with the time, but I’m not predicting now what I’m

       3      going to do a month from now.

       4                  MR. BIENENSTOCK:    I was just trying to avoid further

       5      dispute.    Because the stipulation also says that at that

       6      hearing, no disputed facts will be determined.

       7                  THE COURT:   If the stipulation which I so ordered

       8      continues to be in effect and is not changed either by

       9      agreement of the parties or as a result of a contest of its

      10      meaning by order of the Court, that would no doubt control.

      11      But to the extent that the stipulation fairly read does not

      12      apply to the current state of facts including the incorporation

      13      of the Part VII rules as described in my remarks, I’m assuming

      14      that the parties will try to make the current stipulation work

      15      in the context of the case as it is evolving.

      16                  I don’t know that I can be any clearer than that, and

      17      I certainly don’t intend to give you a prediction today as to

      18      what I’m going to be like in October.

      19                  MR. BIENENSTOCK:    Thank you.

      20                  THE COURT:   Is there anything more?

      21                  We’re adjourned until two o’clock.

      22            (Recessed at 12:29 p.m.; reconvened at 2:05 p.m.)

      23                  THE COURT:   Be seated, please.    Good afternoon.

      24                  MR. MCCARTHY:   Good afternoon.

      25                  THE COURT:   Let’s start with Soffer.

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       1                   MR. MCCARTHY:   Good afternoon, Your Honor.      My name

       2      is Ed McCarthy on behalf of Lehman Brothers.

       3                   THE COURT:   Were you on the phone last time?

       4                   MR. MCCARTHY:   I was.   I was, Your Honor.

       5                   THE COURT:   Welcome to the courtroom.

       6                   MR. MCCARTHY:   Thank you very much and thank you for

       7      having me.

       8                   This morning, Your Honor, we’re here to set a

       9      schedule for moving forward in the Fountainebleau matters.

      10      We’ve worked since the last hearing with opposing party, and we

      11      have agreed to a stipulated schedule.        We’re here today to ask

      12      the Court to issue a consent order on that schedule.

      13                   THE COURT:   Okay.   What do I need to know about it,

      14      and does it apply to all the cases or only to the first one?

      15                   MR. MCCARTHY:   The first two cases.

      16                   THE COURT:   Okay.

      17                   MR. MCCARTHY:   If you’d like, Your Honor, I can

      18      approach with it.

      19                   THE COURT:   Sure.   What do you have to tell me about

      20      it?

      21                   MR. MCCARTHY:   I don’t think we have much to discuss.

      22      It’s fairly straight forward, Your Honor.        We attempted to be

      23      aggressive with it, move these cases forward, which we would

      24      both like to do.

      25                   THE COURT:   And what’s happening with proceedings in

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       1      Nevada?

       2                   MR. MCCARTHY:   The proceedings in Nevada in the Towne

       3      Square litigation, Lehman Brothers has foreclosed through a

       4      non-judicial foreclosure process.       There -- we’ve talked to

       5      opposing counsel about this, who we didn’t see any emergency

       6      there to respond, because through the non-judicial foreclosure

       7      process, there’s no need to respond until the sale is set.

       8      That won’t be set until December through an agreement with the

       9      parties.     That’s a different case than the case before Your

      10      Honor.

      11                   THE COURT:   Okay.

      12                   MR. MCCARTHY:   So --

      13                   THE COURT:   And that one is not on for today?

      14                   MR. MCCARTHY:   It is not, Your Honor.     We will be

      15      here next month on that for opposing counsel’s motion to seek

      16      relief from the automatic stay in that case.

      17                   THE COURT:   Okay.   Any comments from the defendant’s

      18      perspective?

      19                   MR. MAJOR:   Not much, Your Honor, there’s any

      20      questions.     And it’s Chris Major for the defense.

      21                   THE COURT:   All right.   I have no questions.     And if

      22      this is in electronic form, I’ll enter the order.

      23                   MR. MCCARTHY:   We can submit it to Your Honor in

      24      electronic form.

      25                   THE COURT:   I can’t do anything with a piece of

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       1      paper.

       2                  MR. MCCARTHY:     Of course, of course.

       3                  THE COURT:     And I take it this is something that

       4      you’re satisfied with on behalf of your clients?

       5                  MR. MAJOR:     Yes, Your Honor.   It’s the product of

       6      much back and forth between plaintiff and defendant.

       7                  THE COURT:     Okay.   Fine.

       8                  MR. MCCARTHY:     We’ll submit it then as soon as this

       9      is done.

      10                  THE COURT:     Fine.   I’ll enter it then.

      11                  MR. MCCARTHY:     Thank you.

      12                  THE COURT:     Thank you.

      13                  MR. MAJOR:     Thank you, Your Honor.

      14                  MR. WIN:     Good afternoon, Your Honor, Zaw Win from

      15      Weil Gotshal and Manges for the debtors.

      16                  The final item on today’s agenda is an adversary

      17      proceeding of Melissa King versus Lehman Brothers Holdings,

      18      Inc., Case No. 11-10875, and it’s the debtor’s motion to

      19      dismiss, which is docketed at UCF No. 8.

      20                  The debtor’s motion to dismiss is uncontested, but

      21      before going into the substance of the motion, it may be

      22      helpful to provide the Court with a little bit of background

      23      information on this matter.

      24                  As the Court may recall, Ms. King failed to appear at

      25      the July 20th hearing on the debtor’s motion for a temporary

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       1      stay of the adversary proceeding.      Following entry of the

       2      order, of that order, granting the temporary stay, the debtors

       3      contacted the Chapter 13 trustee in Ms. King’s case which is

       4      pending -- which was at the time pending in the United States

       5      Bankruptcy Court for the Northern District of Georgia.

       6                  The Chapter 13 trustee provided the debtors with an

       7      additional service address for Ms. King in Pasadena,

       8      California, and the debtors served copies of the order granting

       9      the temporary stay of the adversary proceeding, as well as this

      10      motion on both that address and the address in Mableton,

      11      Georgia.

      12                  Additionally, since the July 20th hearing, Ms. King’s

      13      Chapter 13 case has been dismissed, and I understand from local

      14      counsel that LBHI has successfully executed on its writ of

      15      possession and taken title to and possession of the property in

      16      Georgia.    No objections or other responsive pleadings were

      17      filed to this motion.     And unless Ms. King is here today, the

      18      debtor’s motion appears to be uncontested.

      19                  Unless the Court has any questions, the debtors

      20      respectfully request the motion to dismiss be granted.

      21                  THE COURT:   Let me inquire if Melissa King is present

      22      in the courtroom or participating by telephone conference.

      23                  I hear no response.    And so she’s not here to

      24      informally oppose your motion to dismiss.       I would ask if

      25      you’ve had any contact with her since the last time this case

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       1      was listed for the adversary docket?

       2                  MR. WIN:     We haven’t.    We haven’t gotten any response

       3      from her, either formally or informally.

       4                  THE COURT:     And are you satisfied that you have a

       5      reliable address for her in Pasadena, California?

       6                  MR. WIN:     It’s the address that was provided to us by

       7      the Chapter 13 Trustee who informed us that she had received it

       8      from Ms. King.    So it’s the best address that we have.

       9                  I would note that Ms. King brought this adversary

      10      proceeding, and it does seem to us that she has some

      11      responsibility to inform us of how to reach her in connection

      12      with it.

      13                  THE COURT:     All right.    Since the adversary

      14      proceeding principally relates to the property which now has

      15      been taken over by Lehman in Georgia, that’s correct?

      16                  MR. WIN:     That’s correct.

      17                  THE COURT:     In effect, the subject matter of the

      18      complaint appears to no longer be current.         The likely reason,

      19      although I can’t look into this pro se plaintiff’s mind that

      20      she brought the complaint, was to try to hold on to the

      21      property in a different way since that appears not to any

      22      longer be applicable, I gather, but don’t know, that she may

      23      have abandoned this action.

      24                  I will grant the motion to dismiss, as unopposed.

      25      But if it should turn out that there is some fundamental defect

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       1      in the service, and Ms. King is able to come into court at some

       2      reasonable time in the future demonstrating that she did not

       3      have actual or constructive notice of today’s proceeding, I’ll

       4      certainly give consideration to any argument she may make at

       5      that time.     However, I will enter the proposed form of order if

       6      you have one.

       7                   MR. WIN:     Thank you, Your Honor, we’ll submit one

       8      this afternoon.

       9                   THE COURT:     Fine.   We’re adjourned.

      10            (Whereupon these proceedings were concluded at 2:12 PM)

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       1

       2                                   I N D E X

       3                                   R U L I N G S

       4      DESCRIPTION                                                 PAGE    LINE

       5

       6      Motion for Approval of a Modification

       7      To Debtors' Disclosure Statement - APPROVED                 12      9

       8

       9      Motion of Official Committee of Unsecured

      10      Creditors of Lehman Brothers Holdings Inc.

      11      Et al. for Entry of an Order Granting Leave,

      12      Standing and Authority to Prosecute and,

      13      If Appropriate, Settle Causes of Action on

      14      Behalf of Lehman Commercial Paper Inc.

      15       - GRANTED                                                  16      1

      16

      17      Motion of Insured Persons for an Order

      18      Modifying the Automatic Stay to Allow

      19      Settlement Payment Under Directors and

      20      Officers Insurance Policy to Settle

      21      New Jersey Action - GRANTED                                 27     24

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       1

       2                                I N D E X, continued

       3

       4      DESCRIPTION                                                 PAGE    LINE

       5

       6      RBS N.V.'s Motion for Order Dismissing,

       7      Without Prejudice, the LBI Trustee's Motion

       8      Dated June 29, 2011 or Alternatively,

       9      Converting the LBI Trustee's Motion to

      10      An Adversary Proceeding Complaint

      11      - DENIED                                                    89      5

      12

      13      RBS N.V.'s Motion for Staying all

      14      Non-Discovery-Related Proceedings

      15      In Respect of the LBI Trustee's Motion

      16      Pending a Determination by the District

      17      Court with Respect to RBS N.V.'s Motion

      18      To Withdraw the Reference - DENIED                          90      5

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       1

       2                                I N D E X, continued

       3

       4      DESCRIPTION                                                 PAGE    LINE

       5

       6      Adversary Proceeding:       11-01875

       7      Lehman Brothers Holdings Inc.'s Motion

       8      To Dismiss - GRANTED                                        98     24

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       1

       2                             C E R T I F I C A T I O N

       3

       4      I, Aliza Chodoff, certify that the foregoing transcript is a

       5      true and accurate record of the proceedings.

       6

                                  Digitally signed by Aliza Chodoff
       7
                 Aliza Chodoff    DN: cn=Aliza Chodoff, o, ou,
                                  email=digital1@veritext.com, c=US
                                  Date: 2011.09.15 15:24:18 -04'00'
       8      ______________________________________

       9      ALIZA CHODOFF

      10

      11      Veritext

      12      200 Old Country Road

      13      Suite 580

      14      Mineola, NY 11501

      15

      16      Date:   September 15, 2011

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